Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 1 of 110

 

CITY OF BUFFALO

DEPARTMENT OF LAW

EX

I BIT

 
Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 2 of 110

VIDEO DEPOSITION
LAUREN McDERMOTT

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

JAMES C. KISTNER,
Plaintiff,

- vs - Civil Action No.
18-cv-402

THE CITY OF BUFFALO,

c/o Corporation Counsel,

BYRON LOCKWOOD, individually and in
his capacity as Police Commissioner
of the Buffalo Police Department,

DANIEL DERENDA, individually and in his
capacity as Police Commissioner of the
Buffalo Police Department,

LAUREN McDERMOTT, individually and
in her capacity as a Buffalo Police Officer,

JENNY VELEZ, individually and in her

capacity as a Buffalo Police Officer,

KARL SCHULZ, individually and in his
Capacity as a Buffalo Police Officer,

KYLE MORIARTY, individually and in his
capacity as a Buffalo Police Officer,

DAVID T. SANTANA, individually and in his
capacity as a Buffalo Police Officer,

JOHN DOE(S), individually and in his/their
capacity as a Buffalo Police Officer(s),

Defendants.

 

 

 

JACK W. HUNT & ASSOCIATES, INC.
10:04:28

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 3 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

Video deposition of LAUREN McDERMOTT,
Defendant, taken pursuant to the Federal Rules of
Civil Procedure, in the offices of JACK W. HUNT &
ASSOCIATES, INC., 1120 Liberty Building, Buffalo,
New York, on February 19, 2020, commencing at
10:07 a.m., before ANNE T. BARONE, RPR, Notary

Public.

APPEARANCES: RUPP BAASE
PFALZGRAF & CUNNINGHAM, LLC,
By R. ANTHONY RUPP, III, ESQ.,
rupp@ruppbaase.com and
CHAD DAVENPORT, ESQ.,
davenport@ruppbaase.com,
1600 Liberty Building,
Buffalo, New York 14202,
(716) 854-3400,
Appearing for the Plaintiff.

TIMOTHY A. BALL, ESQ.,
Corporation Counsel,

By MAEVE E. HUGGINS, ESQ.,
Assistant Corporation Counsel,
1137 City Hall,

Buffalo, New York 14202,
(716) 851-4334,
mhuggins@city-buffalo.com,
Appearing for the Defendants.

PRESENT: JAMES KISTNER
JENNY VELEZ
PATRICK F. MORRIS, Videographer

 

JACK W. HUNT & ASSOCIATES, INC.

1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

04:

04:

04

04

Os:

05:

05:

05:

05:

Os:

O7:

O7:

OT:

O08:

08:

08:

08:

08:

08:

O08:

08:

08:

08:

28

23

256

:58

00

00

02

04

04

04

49

58

58

02

02

02

03

05

05

07

08

09

11

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 4 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

THE REPORTER: Usual stipulations for
federal cases and read and sign?

MS. HUGGINS: 45 days to read and sign.

THE REPORTER: Okay.

MR. RUPP: No objection.

THE REPORTER: And Ms. Huggins will be
supplied?

MR. RUPP: Yes.

THE REPORTER: Thank you.

LAUREN McoODERMOT TT, 1847 South Park

Avenue, Buffalo, New York 14220, after being duly

called and sworn, testified as follows:

EXAMINATION BY MR. RUPP:

Q. Good morning, Ms. McDermott.

A. Good morning.

Q. My name's Tony Rupp. I don't think
we've met before today. Is that fair?

A. Yeah, I don't think so.

Q. Okay. You're here for a deposition in

the case of James Kistner versus the City of

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

o8:

08:

O08:

08:

08:

08:

08:

08:

08:

08:

08:

08:

08:

O08:

08:

08:

08:

08:

08:

O08:

08:

08:

08:

14

16

20

21

22

25

25

25

27

29

31

33

35

38

40

42

43

45

48

a1

52

52

593

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 5 of 110

McDermott - Rupp - 2/19/20

1| Buffalo. Before we get going with my questions
2| this morning, have you ever been deposed and placed
3} under oath and given testimony before?

S A. I've never been deposed.

5 Q. Okay. You've given testimony in court
6] trials then?

7 A. Yes.

8 Q. All right. The deposition process is
9} a little bit different, so I'll just go over

10} a couple of ground rules real quick.

11 As you can see, we have a stenographer here
12} taking down my questions and your answers

13 | mechanically. It's not a magnetic recording. So
14| for that reason, it's very important that we not
15| speak over each other.

16 L'll try to give you an opportunity to

17| finish your answer before I ask my next question,
18} and I would ask kindly that you wait until I've

19} finished asking my full question before you begin

20] responding to it. Is that fair?

21 A. Yes.
22 Q. Okay. And for the same reason -- and
23] I see you're doing it already -- it's important

 

 

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

o8:

08:

09:

09:

09:

09:

09:

09:

09;

09:

09:

093:

09:

09:

09:

09:

09:

09:

O09:

09:

09:

09:

09:

50)

58

00

02

02

05

O7

11

13

15

L5

16

Lit

17

20

21

23

24

25

27

28

28

Zo

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 6 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

that you give me a verbal or an audible response so

that we can have the court reporter take that down

for us. Will you do that for me?
A. Yes.
Q. If you forget, I'll try to remind you.

And if I ask you any questions this morning
that you don't understand, please ask me to repeat
the question, have it read back, rephrase it,
whatever. It's important that you understand the
question.

Will you do that for me if you don't
understand?

A. Yes.

Q. Okay. Ms. McDermott, can I have your

date of birth, please?

A. [eo.

Q. All right. And where were you born?
A. Buffalo.
Q. All right. And did you go to

high school here?

A. Yes.
Q. Where did you attend?
A. Nichols.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

09:

09:

09:

09:

09:

09:

09:

09:

09;

09:

09:

093:

09:

09:

09:

09:

09:

09:

O09:

09:

09:

10:

10:

30

31

33

34

35)

38

39

40

42

45

45

46

48

49

52

52

54

54

57

58

oo

00

02

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 7 of 110

McDermott - Rupp - 2/19/20

1 Q. And what year did you graduate?
2 A. 2007.

3 Q. College?

“ A. Canisius.

5 Q. And what year did you graduate?
6 Bic 2010.

7 Q. What degree?

8 A. Business degree.

9 Q. Do you have any education beyond

10] college?

11 A. No.

12 Q. All right. And what is your current

13 | occupation?

14 A. I'm a detective with the Buffalo Police
15| Department.

16 O\. How long have you been with the Buffalo
17| Police Department?

18 A. Seven and a half years.

19 Q. All right. And how long have you been

20| a detective?

21 A. Six months.
22 Q. What was your position before that?
23 Bs Police officer.

 

 

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

10:

10:

10:

10:

10:

10:

10:

10:

LQ:

10:

10:

10:

10:

10:

10:

10:

10:

10:

LQ:

10:

10:

10:

10:

04

04

06

08

11

11

13

15

20

22

22

25

28

Zo

31

32

32

32

33

35

36

39

ao

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 8 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

Q.

A.

0.

McDermott - Rupp - 2/19/20

For how long?
seven years.

All right. So those are the only two

positions you've held with the BPD?

A.

Q.

Yes.

All right. And what was your actual

start date for the BPD?

A.
Q.
As

Q.

August 3rd, 2012.

And has that been full-time employment?

Yes.

Have you had any periods of leave or

being off for an extended period?

A.
Q.
district?

A.

PP P ®

Q.
you with?

A.

No.

Are you assigned to a particular

Yes.
Which one?

A District.

How long have you been with A District?

Six months.

Okay. Before that, what district were

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building

Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

10:

10:

10:

10:

10:

10:

10:

10:

LQ:

10:

10:

10:

10:

li

ll:

11:

11:

Lis:

ll

li:

11:

11:

11:

40

41

43

43

45

47

47

ol

ol

52

52

54

id

:01

05

08

08

11

:11

14

15

21

21

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 9 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

Q.

McDermott - Rupp - 2/19/20

Was that for the full time that you

were a police officer before that?

academy?

»- oO PrP Oo

Yes.

Okay. So you've only been with C and
never with B?

Correct.

Okay. Did you attend the police

Yes.

Where did you go?

ECC.

And when did you take that program?

From August 3rd, 2012 -- or, well, it

was August 6th was our start date, to December,

I think it was like 21st or something like that.

Graduation.
Q.
program?
i.

Enforcement

Okay. And -- and who put on that

I think it's just the Erie County Law
Academy.

Okay. I take it you passed?

Yes.

Okay. And did there come a time when

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

11:

11:

ll:

LL

ll:

11:

Li:

ll:

LL

ll:

11:

11:

ll:

li

ll:

11:

11:

Lis:

ll

li:

11:

11:

11:

23

24

26

:27

27

28

30

31

131

3S

34

30

36

:38

42

44

45

45

:49

52

5)

56

56

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 10 of 110

McDermott - Rupp - 2/19/20

1} you were sworn in?

2 A. Yes. That was on August 3rd.

3 Q. That was August 3rd --

4 A. Yes.

5 Q. -- you were sworn in?

6 And you -- you began your training on

7} August 6th?

8 A. Yes.

9 Q. Okay. And --

10 As Friday and a Monday.

11 Q. Right. And that was all 2012.

12 A. Yes.

13 Q. All right. And when you first became
14} a -- a police officer, following -- I assume

15] following your -- your graduation was the first

16} time you were out in the field?

17 A. Yes.

18 Q. Okay. So between August and December,
19| whatever the date of the graduation was in 2012,
20] you were purely in training; you weren't deployed
21] into the field at all.

22 A. Correct.

23 Q. Okay. And then after you graduated and

 

 

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

11:

12:

L2:

12:

V2:

12:

12:

12:

2:

12:

12:

12 :

12:

12:

12%

12s

12:

12:

12?

2:

12:

12:

12:

58

02

05

06

06

09

10

12

13

15

L5

17

18

19

22

22

23

24

25

27

28

28

we,

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 11 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

10

you were assigned to C District, did you become
a patrol officer?

A. Well, I had field training.

Q. Okay.

A. Yes, I was a patrol officer, but I was
with a field training officer.

Q. Okay. And I was going to ask you that,

so there was sort of a little bit of an

apprenticeship?

A. 16 weeks.
Q. Okay. 16 weeks --
A. That you ride with a senior field

training officer.
Q. And whom was your field training

officer?

A. iI had a couple different ones —-
Q. Okay.
A. -- we rotated through.

Lavonne Handsor.

Q. Can you spell the first and last name
on that?

A. L-A-V-O-N-N-E, I believe.

Q. Okay.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

12;

12:

L2:

12:

V2:

12:

12:

12:

2:

12:

12:

12 :

12:

12:

13:

13;

13:

L3:

13:

13:

13:

13:

13

32

35

36

39

40

45

46

48

ol

52

52

56

58

58

00

00

02

03

04

06

08

09

11

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 12 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

11

A. H-A-N-D-S-O-R.

Q. Okay.

Ay Darryl Williams.

Q. Okay.

A. And Alphonso Wright. A-L-P-H, yeah.

Q. And is that Wright, W --

A. -- R-I-G-H-T.

Q. Okay. And they were all more -- more
experienced officers?

A. Yes.

Q. Okay. And was your training with them

primarily, you know, patrol based?

A. Yes.

Q. Like in a -- in a patrol SUV?

A. Yes.

Q Or a squad car, as they call them?
A. Yeah.

QO What do you refer to those as?

I'm probably going to reference them over
the course of the deposition. Is that -- is that
a police SUV?

A. We usually say patrol vehicle.

Q. Patrol vehicle?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

13:

13:

13:

13:

13:

13:

13s

13:

Ls:

13:

13:

1:3:

L3:

13:

13:

13;

13:

L3:

13:

13:

13:

13:

14

11

LL

20

20

27

27

27

Zo

31

32

33

34

34

38

39

39

41

45

48

a1

54

58

:01

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 13 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
12

THE WITNESS: Yes.

(Discussion off the record.)

BY MR. RUPP:

Q. Okay. So you just call them patrol
vehicles?

A. Yes.

Q. All right. So with each of the more
senior officers that you mentioned, did you ride in

a patrol vehicle with them?

A. Yes.

Q. And did you respond to calls?

A. Yes.

Q. And did you learn and train under them

for those 16 weeks?

A. Yes.
Q. All right. And after those 16 weeks
were completed -- well, let me ask you this: You

have a log of training that you took that was
produced to us in discovery.

Was that training all done in those weeks
between August and December of 2012, or did you
have additional training after that time?

A. I would have to see the document.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10%

10:

10:

10:

14:

14:

14

14:

14:

14:

14:

14

14:

14:

14:

14:

14:

14

14:

15:

15:

15:

LS:

03

O7

:09

Li

14

15

18

:18

Lo

22

23

23

27

:30

31

26

29

32

36

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 14 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
13

Q. Okay. I'm going to try to find that.
I don't know if I put it in order.

So you have had a number of different
training modules, is that correct, or training
courses that you took?

A. Throughout our career we continue
training.

Q. Okay. And that was going to be my
guestion. So since you became an officer, you've
had additional training; is that right?

A. Yes.

MR. RUPP: Okay. Let me see if we can get
this marked, and I'll show you what I'm talking
about.

Thank you, Anne.

The following was marked for Identification:
EXH. 14 Buffalo Police Academy
training record

BY MR. RUPP:

Q. All right, Ms. McDermott, let me show
you a copy of Exhibit 14, which purports to be your
Buffalo Police Academy training record.

Do you see that title at the top of the

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

LS:

15:

15:

L5:

L5:

LS:

15:

15:

LS:

15:

15:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

37

38

38

41

45

48

48

ol

95

58

59

O1

05

05

05

07

O7

09

12

16

17

17

18

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 15 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
14

page?

A. Yes.

Q. But, in fact, you had already graduated
from the ECC program by the time the training
that's listed on this begins; is that right?

A. Yes.

Q. Okay. So is the training that you
receive once you become an actual officer in the
field given through something known as the Buffalo
Police Academy?

A. Yes. We have -- there's ECC Training
Academy and then there's a Buffalo Police Academy

Division.

Q. Okay.

A. And that's where -- what all of this
would be.

Q. All right. So let's just pick the one

at the top. 2013 Glock qualification, which took
place on January 22nd, 2013, which was after ECC;
is that right?

A. Yes.

Q. Indicates that you took and completed

that course; is that right?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

2s

17:

17:

Lee

19

20

23

26

28

29

33

34

35

37

38

42

44

46

48

49

ol

53

95

00

03

03

05

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 16 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

15

A. Yes «

Q. And was that something that would
happen, you know, during a regularly scheduled
shift that you would be scheduled to go to the
police academy to do that?

A. It depends. Glock qualification is
qualifying with our firearm.

0: Right.

A. So it would be during -- it would be at

the range. So, generally, it would be during the
shift but not necessarily.

Q. Okay. So I guess what I'm getting at
is: Was this training in addition to like your

regular, I assume, eight-hour shift or --

A. Ten-hour shifts.
Q. -- ten-hour shift, or could it
happen -- mostly happen during your shift?
A. It -- it is usually during the shift.
Q. Okay. And so the list of courses that

you took at ECC are not on here; is that right?
A. Correct.
Q. So if we wanted to see those, we would

have to get those records; is that right?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

Vs

i er

Lee

li:

Lis

17:

Tis

Li:

dae

es

17:

Li:

17:

li:

li:

17:

Lit

Lis

18:

18:

18:

18:

18:

09

09

12

18

aa

27

30

33

33

36

41

45

48

52

34

56

58

oo

O1

01

02

02

04

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 17 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
16

A: Yes.

Q. Okay. But with respect to the training
that you've received through the Buffalo Police
Academy postECC, does this appear to be a full
listing of your training at least through the
date -- the last date that's referenced there,

February 20, 2019?

A. Yes.
Q. Okay. And I note that you took
training -- there's training listed here for Tahoe

on May 2, 2014. What is that training?

A. We had previously had Crown Vics, and
we had just gotten a fleet of Tahoes, so we all had
to be trained on driving those Tahoes.

Q. All right. And you received that

training on May 2nd of 2014?

A. Yes.

Q. And completed that course?

A. Yes.

Q. And that was a four-hour course?
A. Yes.

Q. All right. And on the date of the

incident involving Mr. Kistner, January lst, 2017,

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

09

10

10

LL

16

16

17

19

22

29

32

33

35

38

40

40

43

46

Sl

53

54

oa

59

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 18 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
17

were you driving a Tahoe?
A. Yes.
Q. All right. And was that the same type

or model of Tahoe that you had trained on back in

2014?

A. I believe so.

Q. All right. And did you take any other
training on the operation -- the safe and lawful

operation of a Tahoe after May of 2014 and before
January lst of 2017?

A. I don't remember.

Q. Okay. Well, if you had, would it be
referenced on the Buffalo Police Academy training
record that's been marked as Exhibit 14?

A. I believe so.

Q. Okay. Do you see anything there that
references either Tahoe in particular or any type
of driving training that you would have taken
between those two dates that I just gave you?

A. I do not.

Q. Okay. And are there any other
references to any type of driver training anywhere

on Exhibit 14 that you can see?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

19:

19:

19:

19:

19:

19:

19:

19;

19;

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

10

LL

12

17

18

18

20

22

23

29

31

33

3

a5

37

39

40

41

49

53

56

57

59

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 19 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
18

Ag Not that I can see.
Q. All right. Did you take driver
training operating a police -- a patrol vehicle

while you were at the ECC program?

A. Yes.

Q. Okay. And what type of vehicles did
you train on there? Were those the Crown Vics?

A. Yes.

Q. Okay. And when do -- did the Tahoes
first come into the police department where you
would have been at C District to either ride in one
Or operate one?

A. I don't know the exact date.

Q. Did you start to drive one before you
had the Tahoe training, or was that required before

you could operate the Tahoe?

A. I don't remember.
Q. Okay. All right. And since -- since
2014, you haven't had any updated course -- courses

on operation of a patrol vehicle, to the best of
your knowledge?
A. To the best of my knowledge, no.

Q. Okay. Fair enough.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20;

20:

20:

20:

20:

01

05

09

12

14

14

16

16

18

22

24

24

26

30

34

38

41

42

43

47

48

49

50

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 20 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
19

And, now, I see there's a reference, on the
second page of Exhibit 14, August 4, 2016, to law
enforcement and mental health. Was that a

three-hour course that you took on that date?

A. Yes.

Q. And you completed it?

A. Les.

Q. All right. And had you also taken

a similar course as part of your ECC training?

As Yes. I just don't know what it was
called.

Q. Sure.

Do you see anything else on the list of
training courses that's marked as Exhibit 14 from
the Buffalo Police Academy that relates to law
enforcement and mental health or just the mental
health part of it?

MS. HUGGINS: Form. You can answer.

THE WITNESS: I took CIT crisis services
training in December of '18.

BY MR. RUPP:

Q. And what is CIT?

Bs It is -- gosh. I'm drawing a blank.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

21:

21:

21:

21

21:

21:

21:

21:

21

21:

21:

21:

21:

21

21:

21:

21:

2l:

21

21:

21:

21:

21:

O01

02

03

:07

08

09

10

11

ols

14

16

16

22

224

26

30

30

34

:37

39

ao

39

50

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 21 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

20
SOLE . I'm drawing a blank.

Q. That's okay. That's okay.

A. It's -- has to do with mental health.
People -- dealing with people with mental health
issues.

Q. Fair enough.

And was there any other --

A. Crisis intervention training.

I apologize.

Q. That's okay. Thanks for coming up with
it.

Anything prior to January '17 -- January 1
of 2017, aside from the law enforcement and mental
health that's referenced there, that deals in any
way with -- with mental health on the Exhibit 14?

A. No.

Q. Okay. All right. So as far as you
know, as of January 1, 2017, you were -- you were
current and up to date in all of your required
training?

A. Yes.

Q. Okay. All right. Now, let's -- I want
to go back into the -- I'm going to direct my

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

21:

21:

22:

22:

22:

225

22:

22:

22:

22;

22:

22:

Ze:

22:

22:

225

22:

22:

22:

22:

22:

22:

22:

53

56

00

04

11

13

5

19

21

22

26

30

3

a3

34

37

38

38

39

41

42

43

46

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 22 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

21
questions, I think, to the latter part of 2016.

I want to ask you some questions about that
period leading up to January lst of 2017. So the
last six months of 2016, did you -- did you have
a -- did you have a partner?

How did -- how did the BPD work, in at least
C District, in terms of whether you were -- were

singularly operating a patrol vehicle or you had
a partner?

As Buffalo's technically single-person
cars, but we're so short on vehicles that we --
I would normally double up and ride with another
officer.

Q. All right. And did you have
a particular officer that you would normally

double up with ride with?

A. Yes.

Q. And who was that person?

A. Jenny Velez.

Q. And is she here today?

A. Yes.

Q. Okay. And when did you essentially

first start doubling up with her?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

22;

22:

22:

22:

22:

23:

23:

Zo:

23:

23:

23:

23:

Zo:

23:

23:

225

23:

23:

23%

23:

23:

23:

Za:

48

50

52

56

58

04

O7

09

10

12

ig

15

18

20

23

28

28

30

35

37

40

41

42

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 23 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
22

And I don't mean the very first time you --
you rode with her, but when did you routinely start
doubling up with her as your partner in the single
patrol vehicle?

Bi. I believe that year I went to day shift.
I don't even remember the month.

Q. Had you been night shift before or
a different shift?

A. I was nights, then afternoons, then
days.

Q. Okay. And you told me the shift is ten
hours, so a day shift starts when and ends when?

A. 6 a.m. to 4 p.m.

Q. Okay. And so in the latter half or the
last six months of 2016, were you day shift at that
time?

A. I believe so. I'm trying to remember
the exact, because I was on -- I was only on

afternoons for, at the time, like maybe seven

months. I just don't remember the exact --
Q. Transition date?
A. Yeah. The date frames.
Q. Okay. Fair enough.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

23:

23:

23%

23:

23:

23:

24:

24

24

24:

24:

24:

24:

24

24:

24:

24:

24

24;

24:

24:

24:

24

43

47

48

49

52

57

00

:00

:03

04

06

O7

09

2:14

15

18

21

:27

30

31

a5)

37

eit

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 24 of 110

McDermott - Rupp - 2/19/20

1 But as of January 1, 2017, that was a day
2| shift assignment; is that right?
3 A. Yes. Yes.

4 Q. Okay. And as of that point, you had

5| been, as you put it, doubling up with then-Officer

23

6] Velez in your patrol vehicle; is that right? Or in

7} a patrol vehicle?

8 A. A patrol vehicle.
9 Q. Okay. And that -- I guess I'll ask
10} that next. Did you have a particular patrol

11] vehicle that was assigned to you, or did you take
12} what the fleet had available?

13 A. It -- it would depend. I mean, it --
14} what they had available. Sometimes we would take
15] the same car, but they go down for maintenance

16] routinely. So if it was available, we generally

17| took the same car, mostly because we kept it, you

18} know, clean, and it was -- it was -- you know, but

19| it would depend.

20 Q. Okay. And the -- the cars, if I -- if

21] I recall correctly, are assigned by district; is
22) that right?

23 A. Yes.

 

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

24:

24:

24;

24

24:

24:

24:

24

24

24:

25:

25:

25:

25:

25:

25:

25:

25:

25%

25:

25:

25:

25:

37

41

43

245

Aq

48

49

252

:56

58

05

10

12

15

18

19

20

21

21

22

26

28

30

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 25 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
24

Q. Okay. So, and where is -- where is
A District -- or C District located?

Ay 693 East Ferry Street.

Q. Okay. And is that where you would

report in the morning?

A. Yes.

Q. And what time would you -- would you
arrive, typically, at 693 East Ferry either to
begin your shift or to prepare to begin your shift?

As Prior to 6 a.m. We have to be ready to
go at 6. So usually 10 or 5 to.

Q. Okay. And would you receive any type
of a briefing at that time, or was it just kind of
get ready and, you know, be -- be ready to be
dispatched at 6 a.m.?

A. Briefing.

Q. Okay. And who would provide the

briefing?

A. The lieutenant.
Q. Okay. And as of -- well, I'll go to
January lst of 2017. Who -- who was the lieutenant

at C District at that time?

Bs That day, it was Lieutenant McHugh.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

25%

25:

25:

25:

25:

25:

25:

25%

25:

25:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

32

33

37

40

43

46

od,

52

95

59

03

06

08

09

10

11

13

17

18

22

Zo)

25

26

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 26 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
25

0. Okay. And how do you spell McHugh?
A. M-C-H-U-G-H.
Q. And had Lieutenant McHugh -- I know

that January list of 2017 was the beginning of a new
year, so were there changes at -- at C District
starting on that day versus the preceding, you
know, month of December 2016?

A. No. It was our double-up day, which
means that both platoons work on the same day.

It's every 15-day cycle, a double-up day
occurs. So at the time, he was the lieutenant of

the platoon opposite of me.

Q. Okay.

A. But he was the lieutenant working that
day.

Q. All right. So tell me about platoons
at the district. How -- how does that work? How

does a platoon work?

A. So there's two different sides of who's
working. We generally call them sides. That's how
I refer to them.

Q. Okay.

Bs So it would be who's working when we're

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

26:

Zh:

29

33

33

35

36

39

40

40

41

41

43

45

47

47

49

49

49

52

23

56

57

59

O1

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 27 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

working and

days off.
0.
A.
0.

days a year
A.
0:
A.

Q.

McDermott - Rupp - 2/19/20
26

then who's working when we're on our

Okay. And so, obviously --
There's an A side and abB side.

So, obviously, there's coverage 365

Correct.
Out of each district.
Yes.

And so you're -- you're mirrored up

with a platoon that works when you're not working

and you work when they're not working.

A.

Q.

Correct.

All right. And that's by shift as

well, right?

A. Les.

Q. Now, do you actually have like
a counterpart officer on your platoon that -- or
was it -- was it not scheduled down to that

molecular level?

In other words, did they just put people on

day shift,

or did you actually have somebody who

worked opposite you every time you were off and you

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

27:

2

2is

27:

27:

27:

27:

27s

Zi:

275

27:

Zu:

Zi:

27:

27:

27:

27:

2ii

Zui

27:

27:

275

Zh:

03

O7

10

10

14

16

16

21

23

25

29

29

29

32

32

33

30

35

39

40

41

45

47

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 28 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

27

worked opposite he or -- him or her every time --

A. Not in -- it's not quite down to that
level.

Q. Okay. So, but by platoon, they'll
schedule somebody on your shift when you're off.

A. Correct.

Q. Okay. All right. And so Lieutenant
McHugh was typically -- was the lieutenant for the
other platoon, but on this double-up day, he was
the lieutenant for the entire district; is that
right?

A. Yes.

Q. During your day shift.

A. Yes.

Q. Okay. And I assume there's
a lieutenant on duty for each one of the shifts.

A. Yes.

Q. All right. You were a -- what was your

title? You were --
A. Police officer.
Q. You were a police officer at that time.
Were there any other levels of supervision

between you and Lieutenant McHugh?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

27:

2

2is

27:

27:

27:

27:

28:

28:

28:

28:

28:

28:

28:

28:

28:

28:

28:

28:

28:

28:

28:

28:

50

50

54

57

57

57

oo

00

O1

03

03

04

06

10

12

16

19

Lo

23

23

26

28

28

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 29 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

A.

Q.
supervision
district?

A.

Q.

McDermott - Rupp - 2/19/20
28

No.
Okay. Are there any levels of

above Lieutenant McHugh at the

Yes.

And who would be, at the district,

ahead of Lieutenant McHugh?

A.

Q.
duty?

A.

oe

Captain.

Okay. Was there always a captain on

No.

Okay. What would determine whether

a captain would be present at the district?

A.

Q.

Depending what their shifts are.

Okay. But they were assigned --

they're district captains, not BPD at large

captains.
A.
captains.

Q.

They're district captains, not shift

Okay. Are -- is there such a thing as

a shift captain?

A.

0.

No.

Okay. All right. So as between you

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

28:

28:

28:

28:

28:

28:

28:

28:

28:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

31

35

39

39

40

42

46

52

52

00

00

04

05

07

08

08

11

11

14

18

23

23

24

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 30 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
29

and Officer Velez at the time, January 1st of 2017,

which one of you had been with the police department

longer?

A. I had.

Q. Okay. And do you know how long you had
been with the department -- we can do the math.

As of January 1, 2017, you had been with the
department for -- well, not quite five years; is
that right?

A. Yes.

Q. Okay. And how long had Officer Velez
been with the department?

A. I believe she's the academy class one
or two after me.

Q. Okay.

A. So six months to a year difference,

I believe.

Q. So how was it that the two of you
were -- were paired up when there were not enough
patrol vehicles and you were doing the -- the

double-person riding?
MS. HUGGINS: Form. You can answer.

MR. RUPP: Strike it.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

29:

25

28

30

30

30

31

sl

34

36

37

a7

38

39

41

43

45

48

49

Sl

52

56

56

ot

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 31 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
30

How was it that you were paired up with --
with Officer Velez?
THE WITNESS: By choice.

BY MR. RUPP:

Q. Okay. You got to pick?
A. Yes.
Q. Was there any effort to match, you

know, lesser experienced officers with more

experienced officers when you --

Ax No.

Q. -- doubled up like that?

A. No.

Q. Okay. And how was it that you and
Officer Velez -- I assume it was mutual -- chose

each other?

A. We were friends. I mean --

Q. Did you become -- were you friends
before you joined the police department or --

A. No. We met on the job.

Q. Okay. And do you remain friends with
her to this day?

A. Yes.

Q. All right. And do you still -- you're

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

29:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

58

O1

O1

05

06

07

10

11

13

14

L5

17

Lg

21

21

24

33

34

35

35

ao

41

42

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 32 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

31

a detective now, so you're not riding patrol.

A. Correct.

Q. Okay. As is Ms. Velez?

A. She's a lieutenant.

Q. She's a lieutenant now. Okay. So you
don't ride together anymore.

A. Correct.

Q. Okay. And you're still with -- with
C District?

As A District.

Q. I'm sorry. A District is where you are
now.

Is she -- what district is she with now?

Bhs c

Q. Okay. She remained with C.

All ELGHtE. PELGOE to your deposition here

today, Ms. McDermott, did you review any

documentation at all?

A. Yes.

Q. All right. What did you review?

A. There's a lot of documents that we
reviewed.

Q. When did you do that review?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

30:

30:

30:

30:

30:

30:

30:

30:

30:

31:

31:

31:

31:

31

31:

31:

31:

31:

31

S15

31:

31:

31:

43

44

46

47

49

ou,

54

ah]

29

00

01

05

06

:08

10

11

13

14

2:14

16

16

18

18

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 33 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
32

A. Yesterday.
Q. Okay. And how long -- where did that

take place?

A. Maeve's office.

Q. Okay. And approximately how long did
you -- did your review of documents take place?

A. A couple hours.

Q. Okay. And -- and what in particular

did you review?
Did you review any documents that you signed
or arrest records relative to the incident

involving Mr. Kistner?

A. Yes. We reviewed the arrest records.
Q. Okay. What else did you review?

A. Video.

Q. All right. Is that video --

surveillance video of the incident?

A. Yes.

Q. That was produced by our office?

A. Yes.

Q. Okay. Had you seen that previously?
A. Yes.

Q. And when -- when is the first time you

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

31:

31:

31:

31

31:

31:

31:

Sl:

31

31:

31:

31:

31:

31

31:

31:

31:

31:

B2:

32:

32:

32:

32:

21

24

28

:30

a3

3]

39

42

244

47

48

49

SL

:56

56

ST

58

58

O1

02

02

05

O7

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 34 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
33

had seen that surveillance video?

A. I believe it was after we were served
with the -- or I was served with the paperwork for
the lawsuit.

Q. At any time prior to being served with
the lawsuit, had you been contacted by anyone from
internal affairs at the Buffalo Police Department?

A. No.

Q. Are -- were you ever aware of any

internal affairs investigations --

A. Excuse me.

Q. -- relative to the arrest of
Mr. Kistner on -- and the episode on January 1 of
2017?

A. No.

Q. Are you aware of one now?

A. No.

Q. Have you ever been contacted by

internal affairs?

A. No.

Q. Okay. And you're not -- you're not
aware of whether they have an open investigation

or -- or have never opened one at this time.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

32:

82:

32:

32:

325

32:

32:

82:

82:

32:

32:

82:

32:

32:

32:

325

32:

82:

B2:

33:

33:

33:

Sat

09

10

10

10

22

24

24

27

30

32

33

30

38

40

42

45

50

52

57

00

06

08

11

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 35 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
34

Ag I'm not aware.

MS. HUGGINS: Form.

BY MR. RUPP:

Q. Okay. Have you ever been disciplined
for any reason as a police officer or a police
detective?

MS. HUGGINS: Form, and a 50-A objection, to
the extent it applies. You may answer.

THE WITNESS: Can you define discipline?

BY MR. RUPP:

Q. Well, any type of I guess black mark in
your -- in your record where you were reprimanded,
where you were censured, where you were disciplined
in any way?

A. Not anything that would be like a
reprimand or a suspension, but I guess if you were
to say disciplined in any way, I don't know if
I would use the word disciplined, but I've had to
speak with, say, a lieutenant or a captain
regarding an instance ona call.

Q. Okay. And approximately how many times
have you had to do that?

Bs Not very many, but I couldn't -- I

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

33:

33:

SS:

33:

33:

33:

33:

83:

33:

33:

33:

33:

33:

33:

33%

33:

33:

83:

33!

33:

33:

34:

34

15

15

17

18

18

21

22

22

24

27

29

29

32

a5

36

42

45

47

49

52

5)

00

:06

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 36 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

35

couldn't say.

Q. All right. So nothing that resulted in
any type of suspension?

A. No.

Q. Nothing that resulted in any type of
official reprimand?

A. Correct.

Q. Okay. And nothing that resulted in
anything in your -- in your personal personnel file

that would be considered a black mark?

A. Correct.

MS. HUGGINS: Form objection anda 50-A, to
the extent that that applies.

BY MR. RUPP:

Q. All right. When you received your
training on the Tahoe -- well, let's go back to
ECC. When you received your training on the

Crown Vic and patrol vehicles generally, what kind
of training was that? What did you receive?

A. I believe it was a week-long training.
It was out at the airport, and it was different
types of driving, maneuvering. You know, we do

have to drive fast sometimes. Driving fast,

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

34:

34:

34

34

34:

34:

34:

34

34

34:

34:

34:

34:

34

34:

34:

34:

34

34:

34:

34:

34:

34

LZ

:12

:14

17

:19

12

22

22

27

30

:32

32

35

38

:40

40

43

45

47

:50

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 37 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
36

driving, you know, with lights on, sirens. Stuff
like that.

Q. What about when you're not driving
fast? Are police officers required to obey the
rules of the road?

A. Yes.

Q. All right. So if you're not in an
emergency situation, are you an ordinary driver
like everyone else?

A. Yes.

Q. Okay. No -- no exemptions, no -- you
don't have to obey a stop sign or you can go
through a red light if there's a nonemergency?

MS. HUGGINS: Form.

THE WITNESS: I believe we have an exception
regarding -- I believe we're allowed to use our
cell phones to make a call.

BY MR. RUPP:

Q. Okay. How about my guestion, though,
relates more to the operation of the vehicle
itself. I understand a cell phone is a -- is
a violation, so I appreciate that, but any -- any

vehicle and traffic rules or regulations or

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

34:

34:

34:

34

35:

35:

35:

BS:

35:

35:

8S:

35:

35:

35:

35%

35:

35:

35:

35%

35:

35:

35:

38:

52

56

58

259

00

O01

02

03

O7

10

LZ

14

16

18

20

21

22

26

29

31

a

37

ao

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 38 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
37

statutes that you're, like, allowed to violate
beyond that one as you're operating a vehicle in
a nonemergency situation?

MS. HUGGINS: Form. You may answer.

THE WITNESS: Not that I'm aware.

BY MR. RUPP:

Q. Okay. And just because there was
a form objection, are there any vehicle and traffic
laws other than cell phone usage while driving that
you are exempt from in a nonemergency situation?

A. I don't believe so.

Q. Okay. And you don't remember anything
from your training at ECC that said, you know,
don't worry about this, that doesn't apply to you?

A. Not that I remember.

Q. Okay. And what about the training you
received on the Tahoe that we discussed as part of
Exhibit 14, the Buffalo -- Buffalo Police Academy
training records?

Were -- were you taught or instructed that
there were any -- other than the cell phone, that
there were any vehicle and traffic statutes that

you didn't have to obey in a nonemergency

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

35:

35:

35:

35:

35:

35:

35:

BS:

35:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

41

41

42

44

46

ou,

oo

of

29

01

02

05

06

06

08

12

14

15

17

20

24

26

28

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 39 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
38

situation?

A. I don't believe so.

Q. Okay. And what constitutes an -- an
emergency situation?

When is it that you do get to, you know,
I guess, for lack of a better term, violate the
vehicle and traffic law while you're engaged in
a high -- high-speed pursuit?

MS. HUGGINS: Form. You may answer.

MR. RUPP: Strike it.

What constitutes an emergency situation?

THE WITNESS: It would -- it would depend.

BY MR. RUPP:

Q. All right. Well, if -- if you are in
an emergency situation, would you activate your
warning lights on the patrol vehicle that you're

driving?

A. It would all depend on the situation.
Q. Okay. So can there be emergency
situations where you don't activate the -- the

warning lights on the vehicle but you consider
yourself to be exempt from the vehicle and traffic

laws?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

37:

37:

37:

37:

3s

Si:

aut

S24

37:

Sis

Si:

30

34

38

41

43

45

48

50

52

55

a

59

02

06

07

10

14

15

18

19

21

21

z3

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 40 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

39

A. There are times where I'm going to
a call where I wouldn't necessarily want the siren
and -- because I don't want someone to hear when
I'm coming. Say a burglary in progress.

Q. Okay. Fair enough.

A. But we would still get there quickly.

Q. So other than those circumstances, if
you're going to be, for example, exceeding the
speed limit, will you always activate your siren?

A: No.

Q. Okay. So how do you -- how -- when is
it that you consider yourself to be exempt from
certain vehicle and traffic law statutes then?

What -- what is -- what is it in your
training or experience that tells you: I can speed

or I can go through a light or a stop sign? What
triggers that for you?

MS. HUGGINS: Form. You can answer.

THE WITNESS: So going through a light or
a stop sign, the lights would be activated.

BY MR. RUPP:

Q. Well, that's my point. So -- so

when -- when is it that you decide to activate the

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

37:

Shi

ais

37:

Sys

37:

37:

sys

Si:

37:

37:

Si:

37:

37:

37:

37:

38:

38:

38:

38:

38:

38:

38:

26

28

30

33

34

37

38

41

41

42

44

49

52

25

57

58

00

04

05

06

07

10

13

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 41 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
40

lights then?

A. Are you asking like is it -- are the
lights activated through my entire route from where
I am, to the emergency call?

Q. Well, I'm asking you, yeah, if you get
dispatched to an emergency call and you need to

speed to get there, do you activate your lights and

sirens?

A. Generally, yes.

Q. Okay. And you told me already about
instances where you -- you may not want to announce
that you're coming, and that might be -- are there

any other instances where you might be, for
example, exceeding the speed limit but you don't
activate your lights or sirens?

MS. HUGGINS: Form. You can answer.

THE WITNESS: Again, it would be
Situational.

BY MR. RUPP:

Q. Well, what types of situations, other
than the one you mentioned where you don't want to
let a burglar in process know that you're coming,

that you might violate vehicle and traffic laws but

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

39:

39:

39:

17

19

21

22

22

26

28

28

29

32

32

33

34

a5

38

39

41

45

57

59

03

03

15

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 42 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

4l
wouldn't activate your lights and siren?

A. Well, lights and siren, I -- I kind of
keep those separate.

Q. Okay.

A. Because, again, siren -- you're not
necessarily driving to the entire call with your
siren blaring.

Q. Okay.

A. It would be generally the lights would
be on --

Q. Okay.

A. -- yes, if I'm speeding.

Q. All right. Are there any other reasons

why you would speed but not turn on your lights,
other than the one you mentioned?

A. There may have been times. I can't
think of an exact instance.

Q. Okay. All right. I want to ask you
some questions about some documents that maybe
you've already seen, but I'll go through some of
them.

Now, as a patrol officer with C District,

did you have a particular designation or an

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

395:

39:

40:

40:

40:

40;

40:

40:

40:

40:

20

23

27

27

30

32

36

3

40

43

45

52

54

56

59

O1

04

06

10

ll.

14

14

17

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 43 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
42

alphanumeric code that you referred to yourself as
when you radioed in something to headquarters or
dispatch?

A. Yes. We refer to them as call signs.

Q. Okay. And what was your call sign, as
of January 1 of 2017?

A. That day it was different because it
was double-up day.

Q. Ah, okay. So how does that work? What
was it normally?

A. I believe it was C, for Charlie, 232 or
233»

Q. Okay. So why would that change?

Or just out of curiosity, why didn't you have like
the same one that always referred to you?

A. Because on -- on our days off there's
other officers that have those same call signs, so
that's not my call sign that I hold on to. That --
it's shared with other officers.

Q. So you had to know each day what your
call sign was?

A. It would stay the same on my shift --

Q. Right.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

40:

40:

40;

40:

40:

40:

40:

40;

40;

40:

40:

40:

40:

40:

40:

40:

40:

40:

40;

Al:

4l:

4l:

41:

17

19

22

25)

28

28

sl

34

36

36

38

41

43

48

49

49

54

56

56

01

01

O1

04

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 44 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
43

A. -- for -- for me, but on my days off,
it belonged to a different officer. So on
double-up days, it would be two people that
would have that call sign, so one of us would
get a different call sign.

Q. So on the double-up day that was
January 1 of 2017, you gave up your usual call sign

and went with one for that day.

A. Correct.
Q. And do you recall what that was?
A. I think it was -- it's -- it was either

241 or 242,
Q. Okay. And was Ms. Velez the other one

that you weren't?

A. Yes.

Q. Okay. So I believe you were C241 and
she was C242. Does that make sense to you?

A. Les.

Q. Okay. But was that -- was hers also

a temporary?

A. Yes.
Q. For the double-up day.
A. Yes.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

41:

4l:

41:

4l

4l:

4l:

4l:

41:

4l

41:

4l:

4l:

41:

4l

4l:

4l:

4l:

41:

4l

Al:

4l:

4l:

41:

04

06

06

:07

10

11

13

15

L6G

17

Lo

20

20

:32

36

40

40

41

742

43

44

48

50

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 45 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

44

Q. For the reasons you explained.

A. Yes.

Q. Okay. And so when would you use that
call sign? When you're on the radio or other
times? When would you use that call sign?

A. Yes, to communicate with radio.

Q. Okay. Any other reasons you would use
that call sign?

A. On paperwork.

Q. Okay. You would also refer to yourself
as that?

A. Yes.

Q. Okay. All right. Let me show you what
was previously marked as Exhibit 3. Plaintiff's
Exhibit 3. It's referred to as a complaint summary
report.

Do you -- do you recognize and have you seen

documents similar to this one?

A. Yes.

Q. All right. Now, it has a report date
of March 14, 2019. It looks like that might have
been the date it was printed out. Does that make

sense to you, if you know?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

41:

4l:

42:

42:

42:

42:

42:

42:

42;

42:

42:

42:

42:

42:

42:

42:

42:

42:

42;

42:

42:

42:

42:

50)

59

O1

02

04

09

Ad

13

13

16

Li

17

Lg

20

21

26

29

33

35

35

38

38

40

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 46 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
45

Ag I'm not sure where.

Q. Upper left, the date up there. I just
want to kind of --

A. Oh, did you -- I thought you said
March. September 25th?

Q. Oh, no. March 14, 2019.

Do you have the same one I have?

A. No.

Q. Oh. Well, then.

MR. DAVENPORT: So it's the same one except
it's a different print date --

MR. RUPP: All right.

MR. DAVENPORT: -- for when it came out.

MR. RUPP: Yeah. It looks like -- it looks
like it's the same report, a different report date.

All right. So disregarding the report date,
which postdates the incident that we're here to
talk about today, do you see that the other dates
appear to refer to January 1 of 2017?

THE WITNESS: Yes.

BY MR. RUPP:

Q. Okay. And if you could just navigate

me through that, it says -- on the right it says

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

42:

42:

42:

42:

42:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

42

47

53

a4

59

06

O7

12

14

15

21

24

25

Zo

29

34

39

40

40

43

47

50

50

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 47 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
46

received by. There's a report that came in at
10:32:23 a.m., on January 1, 2017; is that right?

A. Yes.

Q. Okay. And it says it's received by --
it says it was received by 10:33:05. Do you know
what that means between reported and received?

A. That would be a dispatch 911 call taker.
I don't know the exact meaning of all of that.

Q. Fair enough. Okay.

And presumably Julianne Astyk 18773,
received by, would she be, to your knowledge,
somebody at dispatch?

A. She might be a 911 call taker. I don't
know.

Q. Okay. And then there's a reference to
dispatched, January 1, 2017, at 10:56:47 a.m.

Do you see that?

A. Les.

Q. Okay. And there's a dispatched by,
there's another number, 000478, Kessler --
K-E-S-S-L-E-R, Joseph. Do you see that?

A. Yes.

Q. Do you recognize that name?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

43:

43:

43:

43:

43:

43:

43:

43:

43:

44:

44;

44;

44;

44

44;

44;

44;

44

44;

44;

44;

44;

44

51

52

55

56

56

58

58

ae

29

00

02

04

O7

:10

10

15

18

221

23

27

28

30

33

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 48 of 110

McDermott - Rupp - 2/19/20

1 A. Yes.
2 Q. Is -- is Joseph Kessler a dispatch

3| operator?

4 A. Yes.

2 Q. Is he an officer?

6 A. Dispatch.

7 Q. Dispatch officer?

8 A. No. I believe --

9 Q. Okay.

10 As -- they're civilians.

11 Q. Civilians. Okay.

12 And then the source underneath that says

13| E-911. Is that Erie County 911 services?

14 A. I assume.

15 Q. Okay. But in any event, the -- the

16] information that's on the form that appears before
17| dispatched is -- is not really what -- what you

18} would be knowledgeable about or did as a patrol

19] officer back on January 1, 2017; is that right?

20 A. Correct.

21 Q. Okay. But -- but once -- once there's
22) a dispatch, is -- if you are the officer that

23| receives the call, you -- you could be dispatched

 

47

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

44;

44;

44;

44

44;

44;

44;

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

a5

37

41

:43

Aq

ou,

57

02

04

04

04

06

09

il

14

17

18

23

27

31

34

34

34

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 49 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
48

at that time, correct?
A. Yes.
Q. Okay. And let me just ask you, if

we look at below, where it says remarks, there's

a identical time entry for -- that matches up with
the dispatched that says, 000478 -- that's
Mr. Kessler's number -- and it says en route, C230.

Do you know who was 230 on the day of the --

the incident?

A. Yes.

Q. And who was 230?

A. Karl Schultz and Kyle Moriarity.

Q. Okay. And were they -- did they have

the same call number, to your knowledge?

A. Kyle was in his field training.
Q. Okay.
A. So I believe it was Karl's call sign

and Kyle was his what we call a PPO.

Q. Okay. And so Mr. Schultz would be the
senior person who Mr. Moriarity is training with;
is that right?

A. Yes.

Q. Okay. All right. So 230 was

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

46:

46:

46:

46:

46:

46:

46:

46:

38

40

45

45

45

46

48

48

ol

51

SL

oS

55

25

58

O1

O1

O1

03

05

05

14

20

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 50 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

49
dispatched, and apparently this is an incident
where they were dispatched to 33 Scharmbeck; is
that correct?

A. Schmarbeck.

Q. Schmarbeck.

And Schmarbeck is in C District, right?

A. Les.

Q. And had -- you had patrolled Schmarbeck
before?

A. Yes.

Q. Were you familiar with -- with all of

the streets that made up C District?

A. Yes.

Q. Okay. Because at that point, you had
been an officer for about four and a half years,
right?

A. Correct.

Q. Okay. And you had probably been just
about everywhere in the district at that point.

A. Yes.

Q. Okay. Now, does this appear then, to
the best of your knowledge, to be the initial

dispatch record with respect to the -- the January

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

46:

46:

46:

46:

46:

46:

46:

46:

46;

46:

46:

46:

46:

46:

46:

AT:

47:

47;

47;

Al:

Al:

47:

47:

24

26

34

36

38

41

42

43

46

47

48

50

52

56

59

03

06

08

08

ll.

12

13

15

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 51 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

50
1 incident that took place on Schmarbeck?

A. Yes.

Q. Okay. Let me show you what's been
marked Exhibit 4 for identification. Is yours two
pages? Okay.

MR. DAVENPORT: So that's --

MR. RUPP: Yeah. I think, Maeve, we had --
there is a second page to Exhibit 4. It's just
a couple of extra lines.

MS. HUGGINS: Yes.

MR. RUPP: With your permission, I would
suggest that we just make that -- you know, and
we'll have our stenographer record it -- a two-page
exhibit, by either remarking it -- maybe that's the
best way to do it -- as Exhibit 4 or swapping the

second page of this template copy to that.

MS. HUGGINS: I think that makes sense.

MR. RUPP: Okay.

MS. HUGGINS: I imagine you'll want to refer
to the second page with her.

MR. RUPP: All right. Fair enough.

So, Anne, we'll ask you, if you would

kindly, to mark that as Exhibit 4.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

47:

47:

47;

47;

47;

Al:

47:

47;

47;

47:

47:

47:

47:

47;

47;

17

17

18

1S

21

25

26

28

31

3S

35

37

37

38

42

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 52 of 110

10

11

12

13

14

15

16

17

18

19

20

10:48:47 21

10:48:49 22

10:48:54 23

 

McDermott - Rupp - 2/19/20
S1

MS. HUGGINS: "A," maybe?

MR. RUPP: What's that?

MS. HUGGINS: 4 -- 4K or 4 with today's
date? Whatever --

MR. RUPP: I think the record will be clear,
so I would just -- you can do 4 as today's date,
and I think we'll remember how that played out, but
I would just recommend that we just tear up that
copy.

MS. HUGGINS: Well, to the extent that
Officer Schultz referred to it during his
testimony.

MR. RUPP: That's fair. All right. So
let's make this 4A. We'll add the second page that
way.

The following was marked for Identification:

EXH. 4A Buffalo Police complaint
summary report XX-XXXXXXX,
two pages

BY MR. RUPP:

Q. Ms. McDermott, I'm showing you Exhibit
4A now, which is the same as 4, except it has the

second page. It's referred to as a complaint

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

48:

48:

48:

49:

49:

49:

49;

49;

49;

49:

49:

49;

49;

49:

49:

49;

49:

49;

49;

49;

49:

49:

49;

56

57

59

01

09

10

10

13

16

19

20

23

3

a5

38

42

44

45

45

47

47

52

59

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 53 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
52

summary report.

And do you see the complaint summary report
refers to a criminal mischief incident that took
place at 37 Schmarbeck on January lst, 2017?

Do you see that?

A. Yes.

Q. Okay. And can you tell me, what is --
what is a complaint summary report?

A. It's the call log is what we normally

refer to it as.

Q. All right.
A. Or a CAD call. C-A-D.
Q. All right. And there's a lot of

references to individual times and then sort of
code numbers next to them and then brief
descriptions of -- of what's going on. Is that
a fair assessment?

A. Yes.

Q. All right. So let's go through it
a little bit.

We saw some of the information up at the top
on the prior exhibit that had the incident number

of 0010496, which was initially a call of

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

50;

50:

50:

50:

50:

50:

50:

50:

50:

50:

50:

5G:

50:

50:

50:

50:

50:

50:

50:

50:

50:

50:

50:

04

08

10

12

13

13

17

21

23

28

30

37

41

43

43

46

48

48

48

49

49

aM

54

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 54 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
5S

larceny/theft.

Do you see that?

A. On the 33 Schmarbeck?

Q. Yes.

A. Yes.

Q. Okay. And at some point it looks like

some of the information from the dispatch, the
report-received times that we went through with --
with Julianne Astyk -- that's A-S-T-Y-K -- and
Joseph Kessler were -- were picked up and put on
another report, bearing incident number XX-XXXXXXX,
at 37 Schmarbeck, not 33, for criminal mischief.

Do you see that? It seems to have been
converted?

MS. HUGGINS: Form. You can answer.

THE WITNESS: 33 Schmarbeck was --

BY MR. RUPP:

Q. Yes.

A -- closed out.

Q. Okay.

A And 37 was opened.

Q. Okay. But do you see that the

information on the report received, dispatched,

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

50;

51:

51:

Si

51:

SL:

51s

51:

S1

Sl:

51:

51:

S11:

51

BL:

51:

51:

Sl:

51

51:

52:

52s

§2:

56

02

04

:07

09

10

16

18

123

26

27

29

3

2:36

42

46

49

52

753

54

00

02

03

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 55 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
54

en route, on seen, and cleared entries are, it
appears to be, identical between the two reports;
is that right?

Well, maybe they're not.

A. I'm not sure where you're referring.
Q. Oh, actually, they are different times.
Okay. So -- all right. So do you know when or

how the initial report of a larceny/theft at
33 Schmarbeck was changed to a criminal mischief at

37 Schmarbeck?

A. It wasn't changed.
Q. Okay. Or -- or, okay, it was added?
A. So I -- based on the 911 calls, which

we listened to yesterday, Karl and Kyle were

already on scene. They just hadn't called out to

dispatch that they were on scene for 33 Schmarbeck.
Q. Okay. And that's incident number

XX-XXXXXXX?

A. Yes.
Q. Okay. So they hadn't called in yet; is
that -- is that what you said, Schultz and

Moriarity?

A. From the --

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

52:

92%

52:

52:

52:

525

525

52:

52:

S2:

52:

52:

$2:

52:

525

52:5

525

52:

52 ¢

52:

52:

52s

53:

03

04

O7

08

08

11

12

16

18

23

27

28

34

36

39

41

46

49

49

55

57

59

02

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 56 of 110

McDermott - Rupp - 2/19/20

1 MS. HUGGINS: Form.
2 THE WITNESS: From the time frame of this,

3} I don't believe so.

4 BY MR. RUPP:

5 Q. Okay. This, being Exhibit 3, right?
6 A.  é

7 Q. Okay. Okay. And when is -- can you

8| tell from either exhibit when they may first have
9| called in?

10 A. I believe it was at 10:56:47, when it
ll| was dispatched on Exhibit 3.

12 Q. Okay. That was when Moriarity and

13} Schultz called in or that was when they were

14| dispatched to 33 Schmarbeck?

15 A. Well, you could be dispatched one of

16] two ways. Dispatch could call you on the radio by

5D

17| your call sign, you respond, and then they dispatch

18} a call.

19 You can also call out on your own and say
20| that you will take a call.

21 Q. All right. How would you know to call
22] out and say you'd take a call? Do you know that

23 | one's come in?

 

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

53:

53:

58:

53:

53:

535

53:

53:

53:

53:

53;

53:

53:

53:

53:

53:

53:

53:

5.3%

53:

53:

53:

53:

03

05

06

07

11

16

19

19

23

25

30

34

38

39

4l

42

45

47

48

49

50

50

593

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 57 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
56

A. We have a computer in the car that
shows pending calls.

Q. I see. Okay.

So do you know which way the patrol vehicle

with Officers Schultz and Moriarity were dispatched

to, apparently, 33 Schmarbeck? Which -- which
method?

A. Based on the 911 call -- or I'm Sorry.
Based on the -- I shouldn't say 911 call.

Based on the listening to the radio call,
Karl called out and said that they were -- that you
could clear the larceny advised is how -- our

verbiage that we use.

Q. Okay. And that would have been --
A. On -- excuse me.
Q. -- to use your prior terminology,

closed out the call log for the incident marked
as Exhibit 3?

MS. HUGGINS: Form. You may answer.

THE WITNESS: Yes.

BY MR. RUPP:

Q. Okay. Is there something I'm missing

there?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

53:

53:

58:

54

54:

54:

54:

54

54

S4:

54:

54:

54:

54

54:

54:

54:

54

54;

54:

54:

54:

54

53

55

57

:00

00

03

05

206

:09

Li

20

23

:23

26

33

30

236

39

44

46

50

:51

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 58 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
5}

If he says that's cleared, what would happen
on Exhibit 3?

Biv That's when it was marked advised and
closed out.

Q. Okay. And where do I -- where do I see

the word advised?

A. On the second-to-last line.

Q. Okay. And that's a status that means
it's -- it -- it's no longer an active situation?

As That's the disposition.

Q. Okay. What are some other dispositions
that you might see on a police -- a call log like
this?

A. There's a lot. It could be a report.
It could be checked okay. It could be -- there's
a lot of them, but there's -- those are just

a couple.

Q. Okay. But what does advised mean in --
in Buffalo Police terminology?

A. I don't think there's one exact answer
of what it means. It just means that they advised
the person on scene.

Q. Okay. All right. Now, so what about

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

54;

54:

54:

55:

55:

55:

55:

5S:

55:

55:

55;

5S:

55:

55:

5S!

55:

55:

55:

5.5%

55:

55:

55:

5S:

54

57

58

02

04

05

08

09

10

12

L5

18

20

21

21

23

26

27

28

30

30

30

ao

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 59 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

58
this Exhibit 3 would tell us that this one was --
was closed out?

I see at the bottom it says, you know,
disposition added advised, and then below that it
says archived.

If something is archived, does that mean
it's closed or --

A. Yes.

Q. Okay. So it's the archived status at
the bottom that tells us that this is no longer an
active call.

A. Right. We don't see that on our
computers in the car.

Q. Got it. Okay.

A. Advised would be the last thing that we

would see and then the call would literally close
from our computer.
Q. I see. Okay.

So that's something that happens at

dispatch.
A. Correct.
Q. Okay. All right. So let's -- let's

move now to Exhibit 4, and this is marked, up at

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

55:

5S:

5S:

55:

55:

55:

55:

5S:

55:

55:

55;

56:

56:

56:

56:

56:

56:

56:

56:

56:

56:

56:

56:

41

46

47

48

50

a3

oo

56

56

57

59

O7

08

09

13

18

18

20

22

24

30

33

a3

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 60 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
59

the top, reported 10:54:42. Do you see that?

A. Yes.

Q. And based on your review for today's
deposition, do you know how that was reported as
a criminal mischief incident?

MS. HUGGINS: Form. You may answer.

THE WITNESS: Karl called it out over the
radio.

BY MR. RUPP:

Q. Okay. Was he the only one, or why was
Karl making the call?

A. I don't know why.

Q. Well, there's -- there's several

officers listed there under the bolded heading or

row lead officers. Do you see that?

A. Les.

Q. All right. And it has listed --
there's a number -- and I'll get to that in

a moment, but Karl Schultz, Kyle Moriarity --

that's M-O-R-I-A-R-I-T-Y -- Lauren McDermott --
that's you -- and Jenny Velez; is that right?
A. Yes.
Q. Okay. And then other personnel are

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

56:

56:

56:

56:

56:

56:

56:

56:

56:

ST:

57:

oi:

57:

Bis

Sw:

57:

ais

5/3:

Sit

Bis

57:

Sas

S73:

a5

40

44

44

49

ou,

a2

a3

29

01

03

03

04

04

09

12

16

18

20

20

24

27

28

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 61 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

60
listed as Salvatore Polizzi -- P-O-L-I-4-Z-I -- and
Edward Sauer -- S-A-U-E-R -- is that correct?

A. Yes.

Q. Do you know who Polizzi and Sauer are?
A. Polizzi is a 9 -- is a dispatcher.

Q. Okay.

A. I don't know Edward Sauer.

Q. Okay. Now, of the officers that

I mentioned in the line above just a moment ago,
which -- which officer was the most senior?

A. Karl.

MS. HUGGINS: Form.

BY MR. RUPP:

Q. Okay. And was there any police
procedure within the Buffalo Police Department that
related to who is in charge of a -- of a -- of a
call or a situation when multiple officers were
on site or on scene?

A. No.

Q. Okay. So do you know why it was Karl
Schultz who made the call in about the criminal
mischief?

MS. HUGGINS: Form. You can answer.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

57:

hi

Sis

By:

Si:

Ss

57s

Sys

Bs

ST:

57:

oi:

57:

Bis

Sw:

57:

ais

5/3:

Sit

58:

58:

58:

58:

30

30

32

33

a3

34

39

40

42

45

48

49

49

Sl

52

54

aa

57

29

01

07

09

13

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 62 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

61
MR. RUPP: Strike it.
Do you know if Karl made that call?
THE WITNESS: Yes, he did.
BY MR. RUPP:
Q. Okay. Why do you know that?
A. I was there.
Q. Okay. Did you hear him make the call?
A. I don't remember if I heard him.
I have listened to the dispatch tapes.
Q. Okay. And it was -- it was definitely

Officer Schultz.

A. Yes.

Q. Okay. And when you listened to the
tape, what did he report?

MS. HUGGINS: Form. To be fair, at what

time?

MR. RUPP: Well, I guess we're talking about
the initial -- there's a report -- let's -- let's
go back to the -- to the top of the form. There's

a reported January 1, 2017, 10:54:42, Do you know
what that relates to?
THE WITNESS: The -- I'm sorry. 10:54:42?

BY MR. RUPP:

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

58:

58:

58:

58:

58:

58:

58:

58:

58;

58:

58:

58:

58:

58:

58:

58:

58:

58:

58;

58:

58:

58:

58:

13

13

15

18

18

20

22

23

23

25

28

30

a1

32

35

36

38

40

42

45

50

50

ol

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 63 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

62

Q. Yes.

A. I believe that would be when Karl
called the call to --

Q. Okay.

A. -- radio.

Q. All right. And having listened to that
call, do you know what he told dispatch at that
time?

A. I don't know word for word. I think
when you said why, I -- he just happened to be the
one to use the radio to call.

Q. Okay.

A. It wasn't -- it wasn't --

Q. It could have been any of you.

A. Right. It could have been any of us.
It wasn't like -- it wasn't a discussion of: Karl,
you call radio. He just happened to call.

Q. All right. So it looks like at least
at some point that this was set up in dispatch as
a criminal mischief complaint at 37 Schmarbeck.

Do you see that?
A. Yes.
Q. Do you know where that information came

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

10:

10:

10:

10:

1.0:

10:

10:

10:

10:

10:

10:

10:

10:

LO

108

10%

10:

10:

10:

58:

58:

58:

59:

59:

59:

59:

59:

59;

59:

59:

59:

59:

59:

59:

59:

59:

59:

59:

59:

59:

59:

59:

53

56

59

02

03

06

06

09

LS

16

Lo

23

29

32

35

35

37

42

44

45

46

47

48

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 64 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

63
from?

A. That was -- that was actually added
down at the bottom, at 1641 it was changed.

Q. All right.

A. I don't know what the initial input
was.

Q. Well, was the initial input, if you
look at 10:55:56, accident/injury, call type?

A. Oh, it could have been.

Q. Okay. And down at the bottom of the
entry that you mentioned, 16:41:22, call type
changed, criminal mischief, did you call that in?

A. I don't remember if it was myself or
Officer Velez. It -- it likely would have been one
of us.

Q. Okay. Because you were -- you were

still with Officer Velez at 16:41:22, which would

have been 4:41 p.m.; is that right?

A. Yes.

Q. Okay.

A. Can I make a clarification?

Q. Sure.

Bs So when you see these multiple calls,

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
10:

10:

10:

10:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

59:

59:

59:

59:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

00:

52

55

55

58

01

05

O7

O7

13

17

20

20

24

27

31

32

33

37

39

40

42

47

48

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 65 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
64

what dispatch does is they do what we call merging.

Q. Right.

Ay So they merge the calls together. So
when you say the reported time, I don't know if
that's when Karl called in, if that's when the
accident/injury came in. I -- I don't -- I wouldn't
know that.

Q. Okay. But if we go down to the -- the
body of the report, under where it says remarks,
let me just ask you a couple of things that I wasn't
clear on.

At 10:40 -- 54:42, which is the same time
that is in the above column as reported, there's
a location given, 1250 Bailey Avenue, and a phone
number.

And that looks like it was information that
came in from -- did that come in from Verizon
Wireless, as best you can tell?

A. Yes. That's the cell tower.

Q. Okay. All right. And do you know if
that was Officer Schultz's phone number?

A. I don't know --

Q. Okay.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

00:

00:

00:

00:

00:

00:

Ol:

Ol:

Ol

Ol:

Ol:

Ol:

Ol:

Ol

Ol:

Ol:

Ol:

Ol:

Ol

Ol:

Ol:

Ol:

Ol:

49

50

52

57

58

oo

02

02

:04

06

09

10

iL

:12

12

14

18

18

:21

23

26

28

28

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 66 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
65

A. -- whose number that is.

Q. Okay. But is it -- presumably, whoever
reported it on January 1, 2017 at that time, that's
that person's phone number.

A. Yes. That matches -- I didn't see it
before. That matches the reported time up at the
EOD.

Q. Yes. Okay. So based on what you told
me earlier, I think you told me you believe that
that's most likely when Karl Schultz called.

A. Lt --

MS. HUGGINS: Form. You can answer.

BY MR. RUPP:

Q. If you know.

A. Yeah, it -- it -- it appears to be when
the -- a call came in. I —-

Q. All right.

A. Like I said, the way that they merge

these calls together, it can be very confusing.

Q. Okay. But, presumably, we could
determine if that's Karl Schultz's phone number,
right?

A. I don't know --

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

Ol:

Ol:

Ol:

01

Ol:

Ol:

Ol:

Ol:

Ol

Ol:

Ol:

Ol:

Ol:

Ol

Ol:

Ol:

Ol:

02:

02:

02:

02:

02:

02:

28

29

31

:33

a3

ao

39

38

:40

40

44

48

SL

cS

52

54

57

00

03

06

09

10

12

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 67 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

66

MS. HUGGINS: Form.

THE WITNESS: I don't know -- I don't
believe it is, but I don't know what his number is
offhand.

BY MR. RUPP:

Q. You don't believe it is, so -- so does
that mean that you -- you no longer think that Karl

Schultz was the one who initiated the report at
that time?

A: Like I said, I don't -- I think I may
have just misunderstood, because it looks like Karl
was dispatched at 10:57. That might be when he

called in.

Q. Okay.
A. Like I said, when they merge these
calls together, Lt dsesn't necessarily —-- like

I said, at the top it says criminal mischief.
I took that to be what it came in as, but I -- now

that you showed me where it shows call type

changed, accident with injury, that -- that could
have been the initial call. I don't know.
Q. All right. And just -- maybe this will

help, maybe it won't, but at 11:03:52, there's

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

02:

03:

03:

16

20

21

24

28

26

28

31

34

36

a7

30

40

40

42

43

45

45

47

52

5)

00

03

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 68 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

67
another call from that cell tower through Verizon
from that same number.

Does that help in any way to identify whose
number that might have been or who might have made
that call or does it not?

Bis I believe that would be attached to
right below it, where it says female requests
ambulance for injured 54-year-old boyfriend.

Q. Okay. So that might have been somebody

on Schmarbeck.
A. Right. Karl wouldn't have called

dispatch on his phone.

Q. He would not have.

A Right.

Q. Okay. He would have radioed.

A Would have radio -- well, he did radio.

We were there.
Q. And you heard it. And you heard it.
Okay. So let me just go back up to the top.
There's a reference from dispatch, 10:55:42, to
send an ambulance to 37 Schmarbeck in C District,
apparently, and then there's a priority of 6.

Do you know what that means?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

03:

04

O7

O7

08

10

11

12

18

23

28

33

37

40

44

Aq

47

48

49

Sl

52

52

54

58

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 69 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
68

A. It's a priority of 6. That's -- yeah,

Q. Okay. Do you know how the priorities
are selected? Is that all dispatch?

A. That's dispatch.

Q. You would not be involved. Okay.

So then it says call type changed to
accident/injury priority 2.

Now, is that call type, what appears next to
the incident number XX-XXXXXXX that's at the top of
this form, it says criminal mischief, but at the

time, would that have been accident/injury?

A. It -- it appears that it was changed to
an accident with injury. What it was changed
from --

Q. We don't know?

A. -- that's what I don't know.

Q. Okay. Fair enough.

A. That's why I was a little bit confused
earlier.

Q. So going back to 3, just -- just really
quickly, the in -- the incident or the call type on

that one is larceny/theft. At least that's what it

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

04:

04:

04:

04

04:

04:

04:

04

04

O04:

04:

04:

04:

04

O04:

04:

04:

04

04:

04:

04:

04:

04

02

03

03

:05

08

09

Ad

215

iL

Lo

22

25

225

27

a1

33

742

49

52

54

54

:57

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 70 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
69

was when it was advised, right?

A. Yes.

Q. Okay. So when you get a call, it's
assigned a number in the system and then a call
type; is that right?

A. Yes. Where it says criminal mischief,
that would be what it was when the call was closed
out.

Q. Right. And so that was my next
question. So it could have -- up until that point,
it could have had as many as several different call
types before it's closed out or advised, right?

A. Correct.

Q. Okay. So based on this form, we don't
know what it was initially set up with in dispatch
under this incident number -- by this, I mean
XX-XXXXXXX -- but we know that when it was the
disposition of P1375 crime report was added and
then it was archived, we know its final call type
was criminal mischief.

A. Correct.

Q. Okay. And you've already pointed me to

someone calling at 16:41:22 or somebody putting in

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

04:

O05:

05:

Os:

Os:

05:

05:

05:

05:

Os:

O05:

05:

O05:

Os:

Os:

05:

05:

05:

OS:

Os:

O05:

05:

05:

59

02

04

06

09

10

12

13

16

16

Lo

20

20

20

26

30

31

34

38

41

44

44

46

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 71 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

70
a call type change to criminal mischief.

A. That would be right above that, where
it says, can you please change this call to
criminal mischief, that would have been a message
on the computer to dispatch.

Q. Okay. And who entered that message on
this call. Do you know?

A. Myself or Officer Velez. It's the same
computer.

Q. Okay. And that is the computer HDO1,
or --

A. No.

Q. -- what is that?

Bhs HDO1l is -- it's the -- it's who we're

messaging on dispatch, so HDO1 is assigned to our
radio channel.

Q. And prior to that call type being
changed through the computer like that, would --
would the call have continued to be on your screen
and open in your patrol vehicle?

A. Yes.

Q. Okay. And so you would have been able

to see that the call type was, unless there had

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

05:

O05:

05:

Os:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

51

55

56

ao

03

06

06

O7

08

10

ig

15

20

22

22

23

23

24

25

29

30

30

we,

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 72 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
71

been any other changes, presumably accident/injury

still. Or whatever it was.
A. I don't know what time frame I was in
or out of the car. At the time that I messaged,

I was in the car and changed it.

Q. Right, but --
A. I --
Q. -- what I'm saying is: Whether you're

in the car or not, if somebody is in the car
looking at the computer screen, presumably it would
have said the call type was accident/injury, up
until 4:41 p.m., when somebody through the computer
said it should be changed to criminal mischief,
right?

MS. HUGGINS: Form.

THE WITNESS: I believe so.

BY MR. RUPP:

Q. Okay. Because there don't seem to be
any other call type changes in the merged call log,

would you agree?

A. There is.
Q. Oh, did I miss one?
A. Well, here, right above -- it's the

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

06:

O7:

OT:

a5

36

37

39

41

42

45

45

47

47

48

48

49

49

49

Sl

54

56

56

57

oo

O1

03

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 73 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
72

second-to-last line.
Q. Well, okay. Yeah.
Ay I believe that was just a dispatch --

it's a drop-down menu.

Q. Okay. So call --
A. So it's in alphabetical order.
Q. All right. So --

MS. HUGGINS: Let him just finish his full
guestion.

THE WITNESS: I'm sorry.

MS. HUGGINS: Just for the benefit of the
reporter.

THE WITNESS: Sorry.

BY MR. RUPP:

Q. So where it says child neglect, I was
going to ask you about that. It does seem to say
child neglect, and then five seconds later it was
changed to criminal mischief; is that right?

A. Yes.

Q. So you think it was probably just an
inadvertent, like a typo on the pull-down menu?

A. That's what I assume it to be.

Q. Okay. Because this was never, in your

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

O07:

O7:

OT:

O7:

O7:

O07:

O7:

O7:

O7:

O7:

O7:

O7:

OT:

O7:

O7:

O7:

O7:

OT:

OT:

O07:

O7:

O7:

OT:

05

06

O7

09

12

15

18

24

30

32

33

30

37

40

42

46

47

48

50

52

5)

56

ot

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 74 of 110

McDermott - Rupp - 2/19/20

1} mind, any type of a child neglect call.

2 A. Right.
3 Q. Okay. Fair enough.
4 All right. So, again, with that, you know,

73

5| five seconds that it was a child neglect call, does

6] it appear to you, from this merged call log, that
7| the incident remained an accident/injury call type

8| from 10:55 a.m., through until 4:41 p.m. that same

9| day?

10 As That's what it appears to be.

11 Q. All right. And if -- and if

12| somebody -- I know you were in and out of the car,

13} but if somebody had been in your patrol vehicle

14| with access to your computer, that would have shown

15/ as an open call, with a call type of accident/injury

16] during that time; is that right?
17 A. I believe so.
18 Q. Okay. I mean, it wouldn't have been

19} deleted during that time. You would have still

20} shown it -- it would have still shown on aC District

21] patrol vehicle computer, right?
22 A. I believe so.

23 Q. Okay. And then I think you told me

 

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

O07:

08:

O08:

08:

08:

08:

08:

08:

08:

08:

08:

08:

08:

O08:

08:

08:

08:

08:

08:

O08:

08:

08:

08:

59

04

08

LL

14

14

14

16

20

28

32

32

34

a5

35

35

37

39

40

44

45

46

ol

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 75 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
74

earlier, in reference to Exhibit 3 and the initial
call to 33 Schmarbeck, that once dispatch puts

a final disposition on it and calls it archived, it
just kind of disappears from your computer; is that
right?

A. Right.

Q. Okay. Okay. So let's go through just
a couple more of these.

At 10:57:17, car C230, with Officer Schultz
and Moriarity, is en route to the scene; is that
right?

MS. HUGGINS: Form.

THE WITNESS: We were already on scene.
That's just how dispatch --

BY MR. RUPP:

Q. Okay.

A. -- logs it.

Q. All right. Fair enough.

And you say we. Was -- were you and -- and

Officer Velez also there by that time?

A. Yes.
Q. Okay. Because at 10:55, there's
a call -- there's a dispatch that comes in and

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

o8:

08:

O08:

09:

09:

09:

09:

09:

09;

09:

09:

093:

09:

09:

09:

09:

09:

09:

O09:

09:

09:

09:

09:

53

57

58

01

03

12

17

17

Lf

18

18

20

21

24

29

33

34

39

42

45

47

48

52

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 76 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

a5
there's a call that came in at 10:54 about a male
hit by a police car; is that right?

A. At 10:55:42.

Q. Right. Okay. So then the computer
shows you, C241, and Ms. Velez, C42, as being
dispatched/en route in that 10:57 time frame; is
that right?

Bs Yes. We were on --

Q. But you --

As We were on --

Q. But you -- but you were already there.

A. Yes.

Q. Okay. Then another call comes in.
All right. Now, at -- at 11 -- okay. Well, at
11:04:26, it says ADI notified, and what is ADI?

A. Ambulance.

Q. Okay. And do you know who summoned the

ambulance? Was that dispatch or --

A. I believe it was the call where -- the
line right above it, where it says she requested
the ambulance. Female requested the ambulance.

Q. Right. But then the entry under 8790,

it says ADI notified, do you know who would have

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

09:

10:

10:

10:

10:

10:

10:

10:

LQ:

10:

10:

10:

10:

10:

10:

10:

10:

10:

LQ:

10:

11:

11:

11:

57

00

02

02

07

12

13

18

26

28

28

32

35

38

43

45

48

50

23

57

00

05

06

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 77 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
76

put that in six seconds later?

A. It appears to be Edward Sauer. That's
his number.

Q. Okay. All right. So it looks like
dispatch ordered an ambulance to 37 Schmarbeck?

A. I believe so.

Q. Okay. And then 11:07:31, there's an
entry that looks like it was added by -- who is
000478? Is that Joseph Kessler?

A. Yes.

Q. It says, cameras on 37 has video of the
man flopping on the ground.

Do you know what that is in -- refers to?

A. I don't recall who would have -- he
typed it in the call. I don't recall who would
have communicated that. It could have been the
call -- the person calling 911. It could have been
one of us. But I didn't -- I don't recall hearing

that on the 911 calls when we reviewed it yesterday.

Q. Okay. Do you know what 37 refers to?
Is that -- 37 Schmarbeck is the address.

A. Yes.

Q. Okay.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

11:

11:

ll:

ll:

ll:

11:

Li:

ll:

LL

ll:

11:

11:

ll:

li

ll:

11:

11:

Lis:

ll

li:

11:

11:

11:

07

08

12

16

l7

19

19

20

12

21

24

26

28

:28

31

35

42

44

245

45

50

54

54

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 78 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

77
A. I --
Q. So had -- had you -- by 11:07 a.m., had
you ever -- had you seen any camera footage of
the -- of the actual collision of the -- of the

police car with the male?

MS. HUGGINS: Form.

THE WITNESS: No. I didn't see the camera
footage that day.

BY MR. RUPP:

Q. Okay. All right. Okay. So dispatch
you think would have added that remark from some
source of information; is that right?

A. Correct.

Q. Okay. All right. Now, just to
continue along, at 11:22 a.m., we have a location
change of the 230 -- C230 call sign, which I think
you told me was both Schultz and the trainee
Moriarity, correct?

A. Yes.

Q. And then you and Velez, C41 and C42,
are putting in a location change to ECMC; is that
right?

re Yes.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

11:

11:

ll:

12:

V2:

12:

12:

12:

2:

12:

12:

12 :

12:

12:

12%

12s

12:

12:

12?

2:

12:

12:

12:

54

56

59

01

02

04

06

09

Le

13

14

15

15

16

16

17

18

18

20

20

23

25

Zo

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 79 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
78

Q. And that was usually -- that was
accomplished by radio. You would radio in and say
you're -- you're going somewhere else or your

location has changed?

A. Yes. I believe Karl made that call.

Q. Okay. But my point is: Whoever made
it might have called in for maybe all three of you
or both vehicles, but it's done by radio.

A. Dis -- yeah, by dispatch.

MS. HUGGINS: Form.

THE WITNESS: Right.

BY MR. RUPP:

Q. Okay. I'm calling it radio, so that's

the communication --

A. We --

Q. -- with dispateh. You call it
dispatch?

A. We -- we call it radio.

Q. Okay.

A. But I -- that's just our term for it.

Q. Well, and I guess I'm -- okay. And

I'll use that term.

Bs Okay.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

12;

12:

L2:

12:

V2:

12:

12:

12:

2:

12:

12:

12 :

12:

12:

12%

12s

12:

L3:

13:

13:

13:

13:

13

26

28

30

32

a3

3]

37

38

40

43

46

49

50

Sl

52

54

57

02

03

04

04

05

O7

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 80 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
719

Q. But I'm kind of wanting to make sure
I'm distinguishing it from some other type of
communication, like through the computer or through

a cell phone or something.

This is radio to dispatch: My location is
changing. I'm going here.

A. Correct. Radio communications.

Q. Okay. Fair enough.

And would that location change happen when
you leave the scene of 37 Schmarbeck or when you
arrive at ECMC that you would do that or when
you're en route?

When would that happen?

MS. HUGGINS: Form. You can answer.

MR. RUPP: Strike it.

When would you normally make a location-change
call to dispatch when you're changing your location?

THE WITNESS: Normally it would be when we
were leaving the scene to go --

BY MR. RUPP:

Q. Okay.

A. -- to the location. It just depends on

when dispatch types it into the computer.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

13:

13:

13:

13:

13:

13:

13s

13:

Ls:

13:

13:

1:3:

L3:

13:

13:

13;

13:

L3:

14:

14:

14:

14:

14

09

10

15

16

19

22

22

24

29

31

35

38

43

49

52

54

56

56

O1

01

02

06

:08

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 81 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
80

Q. Fair enough. Okay.

And then the next line says, C230 will be
a 941.

That's Schultz and Moriarity's vehicle, and
941 refers to a mental health issue?

A. Yes.

Q. Okay. So what does that terminology

mean to you, C230 will be a 941?

A. Again, that's radio or dispatch.
That's their -- their verbiage typing it.
I don't --

Q. Okay. And then at 11:30:35, it says

C230, suspect broke mirror on car 473 intentionally.
Let me ask you about that. Was the car -- the
C District patrol vehicle that Schultz was driving,
was that C473?

A. No.

Q. Okay. Do you know what car 473 is? Is
that your car?

A. That's my vehicle.

Q. Okay. But does the C230 refer to
Schultz calling it in?

re Yes.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

14:

14:

14:

14

14:

14:

14:

14

14

14:

14:

14:

14:

14

14:

14:

14:

14

14:

14:

14:

15:

LS:

08

10

12

:13

l7

19

21

£25

126

28

33

30

36

:38

4l

44

46

749

52

58

58

00

02

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 82 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

81

Q. Okay. And then dispatch evidently took
information and put that -- typed that into the
merged record, right?

A. Yes.

Q. Okay. Now, at 13:14, we have a --
we have a gap there from 11:30 a.m. to -- to
1:14 p.m. Almost two hours, right?

A. Yes.

Q. And then there's a reference from
dispatch, set to primary C241. Who had been
primary prior to you becoming primary?

7 Karl.

Q. Okay. And how do we know that from --
from this call log?

A. It's up at the 10:57:17, dispatched,
primary, C230.

Q. I see. Primary in parentheses. Okay.

So at that point, can you tell me, how did
you change to primary from -- from Karl Schultz, if
you recall from that day?

I'm not even -- I'm not even asking you from

the form. Like when -- when was it -- how did it

come about that you took over being primary on this

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

LS:

15:

15:

L5:

L5:

LS:

15:

15:

LS:

15:

15:

L5 :

15:

LS:

L53

LS ;

15:

LS:

15%

15:

16:

16:

16:

06

LZ

15

18

20

21

22

25

27

28

32

30

38

40

43

44

46

56

28

58

00

03

05

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 83 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

82
XX-XXXXXXX call?

A. It was just a decision made that myself
and Officer Velez would take the call over.

Q. Okay. And where -- where were you when
that decision was made?

A. I don't remember.

Q. Okay. Based on the location changes
that are referenced on this call log, would that
have been at ECMC?

A. It's possible, but again, that's also
could just be that's when we communicated that
it -- it to radio. It wouldn't necessarily be
that's the moment that we decided that --

Q. Okay.

A. -- that's what would happen.

Q. Now, there doesn't seem to be any
location change for C230 after that change to you
as primary was made. Do you see that?

A. Yes.

Q. Okay. Do you know, once the change to
primary was made, was C230 kind of released from
this particular incident report?

A. I don't know at what time, but at -- at

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

16:

07

09

09

13

16

16

16

18

19

21

22

22

26

Zo

31

33

37

40

41

45

47

aM

52

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 84 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

83
some point in time, Karl and Kyle went back into
service.

Q. Okay. And so you and -- and Ms. Velez
stayed with Mr. Kistner wherever you were at that
point.

A. Correct.

Q. So it was just the two officers at that
point; is that right?

A. Myself and Officer Velez.

Q. Yes. Yes.

A. Yes.

Q. Okay. So then the next entry, 14:45,
says C241 NMT. Do you know what that means?

A. It stands for need more time.

Q. Okay. And based on your location
changes as logged by dispatch, does it appear that
you were still at ECMC?

A. It appears, yes.

Q. Okay. And would the C241, need more
time, was that something you would have radioed
into dispatch or typed into your computer, or how
would they get that information?

Ae One or the other. I don't recall which

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

16:

16:

16:

16:

16:

17:

Tis

Li:

dae

es

17:

Li:

17:

li:

li:

17:

Lit

Lis

Ue

2s

17:

17:

Lee

53

54

54

56

58

O01

02

03

05

07

08

09

09

10

15

18

19

21

23

27

29

34

37

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 85 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
84

one.
Q. Okay.
A. Which -- -- which communication I used.
Q. Well, when you were at ECMC, you

weren't in your patrol vehicle, right?

A. I was not.
Q. Okay.
A. But that doesn't mean I wouldn't have

gone out to the car to get, say, paperwork or

something and could have messaged.

Q. Fair enough.
A. I don't recall.
Q. Fair enough.

All right. And so then at 1537, which is
3:37 p.m. -- and I'm sorry, what time did you tell

me your shift would normally be over?

A. At 4 p.m.
Q. 4 p.m. Okay.
So at -- at 3:50 -- 3:37 p.m., about

23 minutes before your shift would normally be
over, you, and then three seconds later, Officer
Velez, location changed. What is CB?

Bs Central booking.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

Vs

i er

Lee

li:

Lis

17:

Tis

Li:

dae

es

17:

Li:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

38

41

42

43

45

47

49

ol

a4

57

a

57

O1

05

10

13

13

13

15

17

17

Lo

19

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 86 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

85
Q. Okay. All right.
A. And --
Q. And then at -- go ahead.
A. I'm sorry. Or cell block is how we
sometimes refer to it as well.
Q. Fair enough. Either -- either acronym.

All right. Then at about -- oh, about
ll minutes later, it shows both of you as being
on scene presumably at cell block or central

booking; is that right?

A. Yes.
Q. Okay. Then we have another location
change about nearly an hour later, at -- at

4:36 p.m., it says your location has changed back
to ECMC; is that right? Both you and Officer
Velez?

A. Yes.

Q. Okay. I mean, they're consecutive

entries a few seconds apart, right?

A. Yes.

Q. Because you're driving together.
A. Correct.

Q. All right. So as long as it took

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

18:

19:

19:

19:

19:

19:

21

23

25

25)

27

31

39

42

44

46

48

50

50

52

34

54

aa

57

00

00

03

09

12

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 87 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

86
dispatch to type in, you're both going, location
change, back to ECMC; is that right?

A. Yes.

Q. Okay. And then it shows you as being
en route.

Now, and then it puts you on scene at
4:46 p.m.; is that right?

On the second page?

A. Oh, yes. Yes.

Q. Okay. So, and that means on scene, as
you are now back at ECMC; is that right?

A. Yes.

Q. Because that's where your pending
location change was -- was put in a few minutes
before.

A. Les.

Q. Okay. And now it looks like -- so does

this mean then that you are actually, you know,
driving?

When you do the location change, are you --
at 1641, are you and Officer Velez driving in the
patrol vehicle at that point?

MS. HUGGINS: Form. You can answer.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

19:

19:

19:

19:

19:

19:

19:

19;

19;

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

19:

13

13

14

16

l7

19

19

21

21

21

25

28

28

32

36

40

41

41

46

50

5)

58

59

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 88 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

87

BY MR. RUPP:

Q. Do you know?

Let me -- let me phrase the question
a little bit better.

You -- you radio in a location change.

A. Yes.

Q. You're heading back to ECMC; is that
right?

A. Yes.

Q. Okay. And dispatch says, you know,
you're immediately en route; is that right?

A. Yes.

Q. Okay. So four to five minutes -- five
to four minutes later, at 1641, there's another
entry: Can you please change this call to criminal
mischief? Do you see that?

A. Yes.

Q. Okay. And based on the times, if these
times are accurate, could you have gotten from
central booking to -- back to ECMC inside of five
minutes?

A. Probably not.

Q. Okay. So does that suggest to you that

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20:

20;

20:

20:

20:

20:

02

05

O7

09

12

16

16

18

20

24

24

26

26

28

31

32

30

38

38

39

46

48

54

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 89 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

88
the dispatch was advised to change the call to
criminal mischief took place while you were
en route to ECMC the second time that day?

A. Since I was driving, I assume that
Officer Velez would have typed it, because it is
a message.

Q. Okay. And -- and I was going to ask
you that. I mean, throughout this whole day, were
you the driver of your patrol vehicle --

A. Yes.

Q. -- 473?

A. Yes.

Q. Okay. And how was it that you decided,
as between you and Officer Velez, which one of you
would drive that day?

A. I don't remember the exact conversation,

but we usually would trade on and off who would
drive.

Q. Fair enough. Okay.

All right. And then if we go to the end of
this document, the last few entries, we have you on
scene back at ECMC, C241. There's no reference to

C242, but she was with you, right?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

20:

20:

21:

21

21:

21:

21:

21:

21

21:

21:

21:

21:

21

21:

21:

21:

2l:

21

21:

21:

30:

30:

56

56

02

:09

13

13

16

16

122

23

24

27

28

:28

30

32

33

34

243

45

45

06

06

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 90 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
89

A. Yes.

Q. Okay. And then at what would have been
6:16 p.m., 18:16:08, the disposition is added
P1375 crime report; is that right?

A. Yes.

Q. And what does the P1375 refer to, if
you know?

A. It's what would be -- we generically
call a police report.

Q. Okay. And then that's -- that's the
end of the log because it gets archived literally
a second later; is that right?

A. Yes.

Q. And I think you told me that would
close it out on your computer, and you wouldn't --

you wouldn't see that again.

A. Correct.
Q. Okay.
Ass Can we take a bathroom break?

MR. RUPP: Sure thing.
(A recess was then taken at 11:21 a.m.)
(On the record at 11:30 a.m.)

BY MR. RUPP:

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

30:

31:

31:

31:

31:

B2:

32:

32:

32:

32:

12

15

19

22

26

29

29

32

35

37

39

30

43

59

00

02

06

O7

03

03

05

O7

O7

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 91 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
90

Q. All right. What I want to do now,

Ms. McDermott, is listen to a couple of the
dispatch radio calls that we were produced in
discovery by your attorney, Ms. Huggins. I'm just
going to play them and then maybe ask you a few
questions about them.

I'm not sure that all but the -- maybe the
last five don't pertain to you, but perhaps you can
tell me that you heard the call or know something
about it, so that's why I'm going to play those
as well.

So starting off with the first file, which
was produced as 01011701, so call l.

MS. HUGGINS: And just for the sake of the
record, what -- what had we previously marked the
disc?

MR. RUPP: Exhibit 10.

MS. HUGGINS: Thank you.

(Audio clip played.)

MS. HUGGINS: Do we want to just go off the
record while we figure this out?

MR. DAVENPORT: Yeah.

(A recess was then taken at 11:32 a.m.)

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

32:

82:

32:

33:

33:

33:

33:

83:

33:

33:

33:

33:

33:

33:

33%

33:

33:

83:

33!

33:

34:

34:

34

44

44

47

22

22

22

24

28

30

30

34

30

55

25

56

58

58

oo

29

59

09

09

:09

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 92 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
91

(On the record at 11:32 a.m.)

MR. RUPP: All right. The first one, Ol,
which I hope is not Christmas music.

(Audio clip played.)

BY MR. RUPP:

Q. I'm going to stop it right there.
Does that sound like a 911 call coming in from an
individual, as opposed to a police officer?

A. Yes.

MR. RUPP: Okay. Let's play the second one.
This is from incident 010117, the second recording
produced by Ms. Huggins.

(Audio clip played.)

BY MR. RUPP:

Q. Now, do you know who Charlie 230 is?
A. Yes.

Q. Do you recognize that voice?

A. Yes.

Q. Is that Karl Schultz?

THE WITNESS: Yes.
(Audio clip played.)
BY MR. RUPP:

Q. Okay. And that's him telling dispatch

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

34:

34:

34

34:

34:

34:

34:

34

34

34:

34:

34:

34:

34

34:

34:

34:

34

34

34:

35:

35:

38:

12

14

:14

14

16

19

19

:20

:28

28

28

30

34

cat

38

39

41

244

247

48

02

02

03

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 93 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
92

that he is out on Schmarbeck with you and Jenny
Velez.

A. Yes.

Q. And presumably Officer Moriarity, but
he doesn't really have a status because he's
training.

A. Right.

MR. RUPP: Okay. Just wanted to confirm.

(Audio clip played.)

BY MR. RUPP:

Q. All right. So it says now it's going
to be 37 Schmarbeck. Did you hear him make this
call from the field?

A. I don't recall.

Q. Fair enough.

Do you know why he changed the street
address from 33 Schmarbeck to 37 Schmarbeck?

A. I think if you keep listening, it's
going to explain.

MR. RUPP: All right. Let's do that.

(Audio clip played.)

BY MR. RUPP:

Q. Okay. When the -- when it says 33 is

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

35:

35:

35:

35:

35:

35:

35:

BS:

35:

35:

8S:

35:

35:

35:

35%

35:

35:

35:

35%

35:

35:

35:

38:

04

O7

O7

10

11

13

14

15

23

23

23

25

27

30

31

a1

33

35

37

38

ao

40

41

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 94 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
93

advised, was that Officer Schultz saying that?

A. Yes.

Q. Okay. And that's saying close out the
incident that we previously talked about that's
Exhibit 3, right?

A. Correct.

MR. RUPP: Okay. And then he continues to

talk.

(Audio clip played.)

BY MR. RUPP:

Q. All right. So let me ask you about
that. He says, somebody threw himself into one of

our cars that was parked.

Do you know what he was referring to there?

A. Yes.
Q. What was he referring to?
A. He was referring to when Mr. Kistner

threw himself into my patrol vehicle.

Q. Okay. Was your car parked?

A. It was stopped.

Q. Okay. Was it -- was it parked?
A. It was not in park.

Q. Okay. Was it in motion?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

35:

35:

35:

35:

35:

35:

35:

BS:

35:

35:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

43

44

47

47

49

50

54

56

28

59

01

02

02

04

04

04

06

09

12

13

14

14

15

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 95 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
94

Bs I didn't -- I don't believe so.
Q. Okay. You don't think it was moving

at the time?

A. I don't remember it being moving.
I -- I remember it being stopped.
Q. Okay. Did you -- before the impact do

you remember it being stopped?

A. I don't recall.

Q. All right. Well, do you -- did you
watch the videos as part of your preparation for

your deposition today?

A. Yes.

Q. Okay. And you watched them just
yesterday?

A. Yes.

Q. Okay. So based on what you saw

yesterday, was your vehicle parked or stopped
or moving at the time of the collision with
Mr. Kistner?

MS. HUGGINS: Form. You can answer.

THE WITNESS: I --

BY MR. RUPP:

Q. What was your vehicle doing at the

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

36:

17

19

21

24

28

26

28

30

31

34

35

38

43

43

44

46

47

47

50

53

54

54

ot

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 96 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
95

precise moment that it impacted Mr. Kistner?

A. My vehicle didn't impact Mr. Kistner.

Q. Okay. Was there contact between your
vehicle and Mr. Kistner?

A. There was contact.

Q. Okay. And was your vehicle moving or
stationary at the time of that contact?

A. I recall it being stopped.

Q. You recall it being stopped. What did
you see yesterday in the videos?

A. It's hard to tell from the angle.

MR. RUPP: Okay.

(Audio clip played.)

BY MR. RUPP:

Q. Okay. And the ADI, you told me
previously, was the ambulance, right?

A. Yes.

Q. Okay. Do you know why Officer Schultz
told dispatch to disregard calls for the ambulance?
MS. HUGGINS: Form. You can answer.

MR. RUPP: Strike it.
What did he mean, if you can tell me, when

he said, disregard ADI?

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

37:

Shi

ais

37:

Sys

37:

37:

sys

Si:

37:

37:

Si:

37:

37:

37:

37:

3s

Si:

aut

S24

37:

Sis

Si:

00

03

03

03

05

08

10

10

13

15

16

18

22

20

30

35

36

40

43

46

48

50

ol

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 97 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
96

THE WITNESS: Disregard ADI would mean we do
not need an ambulance.

BY MR. RUPP:

Q. Okay. And how do you know -- did you

have a conversation with him before he radioed in

to call -- cancel the plans?
A. I don't recall.
Q. Okay. Do you know how he knew that --

that an ambulance was not needed?
A. I don't know.
Q. Okay. Do you know whether or not

Mr. Kistner was injured in the contact between

him and the police -- the police vehicle?
A. I believe he claimed to be injured.
Q. Okay. Did you believe him?
A. I did not.
Q. Did you receive any training in -- in

the course of your ECC training or your Buffalo
Police Academy training or on-the-job training with
respect to what you should do when somebody is --
is struck by a vehicle?

A. He was not struck by a vehicle.

Q. Okay. There was contact between him

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

37:

Shi

ais

37:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

53

56

57

58

01

O01

02

05

O7

07

08

10

12

14

15

16

19

20

20

22

24

25

26

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 98 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
97

and your vehicle, right?

A. Yes, there was contact.

Q. Okay. Did you receive any training
as to what you're supposed to do under those
circumstances?

A. It would depend on the situation.

Q. Okay. If the person says they're
injured and wants an ambulance, what are you

trained to do?

As It would depend on the situation.
Q. Okay. So how -- what -- how would it
depend? What -- what would -- if somebody wanted

an ambulance, what would cause you to cancel an
ambulance?

A. I didn't cancel the ambulance.

Q. Okay. Well, have you canceled
ambulances before?

A. Yes.

Q. Okay. What would cause you to cancel
an ambulance when somebody said, I want an
ambulance?

A. Again, it would depend on the

Situation.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

38:

39:

26

28

31

33

a3

34

42

42

42

44

45

46

46

49

49

52

aa

56

56

57

57

59

O1

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 99 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
98

Q. Okay. How would it depend?

A. It would depend on if we transported
them up to the hospital ourselves.

Q. Okay.

A. That's another option.

MR. RUPP: All right.

(Audio clip played.)

BY MR. RUPP:

Q. All right. He says, okay. T'll get
ADI there,

Who was that speaking?

A. Dispatcher.

Q. Okay. ADI is an ambulance, right?
A. Yes.

Q. So at this point, based on this call

that came over I assume your radio, as well as Karl

Schultz's, right?

A. Yes.

Q. You would have heard it too?

A. Yes.

Q. According to that, dispatch is sending

an ambulance, right?

A. I believe he misunderstood when Karl

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

395:

39:

39:

39:

39:

39:

39:

39:

39:

39:

04

05

10

10

10

12

14

15

16

19

21

22

24

26

28

29

29

31

33

34

37

37

ao

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 100 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

99
said to cancel the ambulance.

MR. RUPP: Okay.

(Audio clip played.)

BY MR. RUPP:

Q. Okay. And so now Karl Schultz is
making it clear: I don't want an ambulance to come
to the scene. Is that right?

A. Correct.

Q. Okay. Did you observe Mr. Schultz make
an assessment of whether or not Mr. Kistner was
injured?

A. I would have been there. I don't
recall the exact assessment that was made.

Q. Okay. Well, my question is: Was an
assessment made?

A. Les.

Q. Okay. How do you know that?

A. I would have been standing there.

Q. Okay. Well, you're saying, would have
been, as if you're almost referring to somebody
else.

I mean, did you -- do you recall, as you sit

here today, watching Mr. Schultz make an assessment

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

39:

40:

40:

40:

40:

40:

40;

40:

40:

40:

40:

42

44

46

48

50

50

od,

54

a4

55

a

59

og

03

06

08

08

10

14

16

18

18

19

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 101 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
100

of whether or not Jim Kistner was injured?
A. I was standing there. I'm saying
I don't recall the exact assessment that was made.
Q. Okay. Do you know how long the
assessment took?
A. No.
Q. Do you know if he asked Mr. Kistner any

questions?

A. I don't remember.
Q. Okay. You have no recollection of
and -- and you didn't perform an assessment; is

that right?

A. I -- there was a visual assessment made
that didn't appear to be any outward injuries.
There was -- he wasn't bleeding. Nothing like
that.

Q. Okay. You wouldn't necessarily see,
like a back injury, though, it wouldn't be

manifested with blood; would you agree with that?

A. A back injury could be manifested with
blood.

Q. But not necessarily, right?

Bs Not necessarily.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

40:

40:

40;

40:

40:

40:

40:

40;

40;

40:

40:

40:

40:

40:

40:

40:

40:

40:

40;

40:

40:

4l:

41:

20

23

24

25)

27

29

32

34

34

36

38

41

44

44

46

46

49

52

54

56

57

00

00

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 102 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

101
Q. Okay. What about -- what about
a spinal cord injury?
Ay I'm not a medical professional.
Q. Okay. So what -- what was the extent

of your assessment of Mr. Kistner?

A. My assessment was that he purposely
walked towards the vehicle and threw himself into
it.

Q. Okay. But what was your assessment of
whether or not he was injured from that?

A. Again, I'm not a medical -- medical
professional. I did not see -- visually see any
injuries.

Q. Okay. Did anybody else do an
assessment?

You said you were there when Mr. Schultz did
one, but you're not sure what he did. You did one.

Did anybody else do an assessment?

Ass As far as a visual assessment?
Q. Any type of assessment.
A: You would have to ask the other

officers that were there.

Q. Okay. All right.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

41:

4l:

41:

4l

4l:

4l:

4l:

41:

4l

41:

4l:

4l:

41:

4l

4l:

4l:

4l:

41:

4l

Al:

4l:

4l:

41:

01

04

06

:06

09

09

10

12

:18

18

20

20

21

221

23

25

25

25

226

27

28

SL.

31

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 103 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

102

Did you overhear any questions asked of
Mr. Kistner as to whether he was injured or not?

A. I don't recall.

Q. Okay. And you don't recall asking any
yourself?

A. I don't recall.

Q. Do you recall speaking to Mr. Kistner
at all before, for example, he was handcuffed?

A. I may have.

Q. When you first saw Mr. Kistner, where
was he?

A. On the ground.

Q. Okay.

MS. HUGGINS: Form.

THE WITNESS: Well, yeah. Sorry. First
saw --

BY MR. RUPP:

Q. Let's say after the impact with the

police vehicle, where was he?

A. On the ground.

Q. Okay. Was he on his back? Side?
Front?

Bs I believe he was rolling. I don't

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

41:

4l:

41:

4l

4l:

4l:

4l:

41:

4l

41:

4l:

4l:

42:

42:

42:

42:

42:

42:

42:

42:

42:

42:

42:

34

37

39

:40

41

43

49

50

152

56

58

59

O1

05

ll

14

18

Lo

23

26

28

SL.

34

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 104 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
103

recall if he was on his stomach or back first, but

he was kind of rolling on the ground.

Q. Okay.
A. From side to side.
Q. Did you hear an impact in your -- in

your police vehicle or patrol vehicle?

A. I don't recall.

Q. All right. Well, how did you know that
there had been physical contact between Mr. Kistner

and your patrol vehicle?

A. I saw it.
Q. Okay. What did you see?
A. I saw him walking towards my vehicle

very fast or guickly, and he didn't stop.

Q. Okay. And you don't remember whether
you were stationary or moving yourself in the
patrol vehicle.

A. Prior to him making contact, I was
trying to drive away. As he kept coming, I slammed
on the brakes.

Q. Okay. Had you seen him before you
slammed on the brakes?

A. Prior --

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

42:

42:

42:

42:

42:

42:

42:

42:

42;

42:

42:

42:

42:

42:

42:

43:

43:

43:

43:

43:

43:

43:

43:

a5

35

36

37

38

40

43

45

48

50

53

54

56

56

56

00

O1

03

03

06

09

10

12

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 105 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

104

MS. HUGGINS: Form.

BY MR. RUPP:

Q. Did you see him walking towards the
front of your vehicle?

A. He was walking towards the side of it.

Q. Okay. Did -- when did you see him?
How long -- how -- what time frame before the
impact did you see him?

A. I -- I don't know about time frame.
I saw him walking from -- I believe from his house,
down the sidewalk.

Q. Okay. And did you see him walk into
the street?

A. Yes.

Q. Did you see him walk past the front of
your vehicle?

A. No. He walked --

Q. Okay.

A. -- in front of Karl and Kyle's vehicle.

He walked to the opposite side of the street where
he was coming from.
Q. Did you hear Mr. Kistner say anything?

MS. HUGGINS: Form.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

43:

13

13

14

17

18

19

21

22

24

25

27

29

32

a3

35

37

40

41

43

44

44

46

47

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 106 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

105
THE WITNESS: I don't recall.
BY MR. RUPP:
Q. Okay. Did you hear Officer Schultz or

Officer Moriarity say anything?

A. I don't recall.

Q Okay. Did you say anything?
A I don't believe so.

Q. Did Ms. Velez say anything?
A I don't believe so.

Q. Okay. So as far as you know, as you
sit here today, you didn't hear anyone say anything
as Mr. Kistner was making his way across the street?

A. I don't recall.

Q. Okay. But you saw him walking towards
your vehicle.

A. I saw him walking -- yes, I saw him

walking towards the side of the vehicle.

Q. Okay. And was your window -- you were
driving.

A. Yes.

Q. Was your window up or down?

A. I don't recall.

Q. Okay. Well, it was January 1 of 2017.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

43:

43:

43:

43:

43:

43:

43:

43:

44

44:

44;

44;

44;

44

44;

44;

44;

44

44

44;

44;

44;

44

50

52

55

a)

56

oo

oo

ae

:01

02

03

05

06

:07

08

09

11

Ls

:13

23

27

27

:28

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 107 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
106

Does that refresh your recollection at all or
whether your window would be up or down or you just
don't know?

A. I don't remember.

Q. Okay. Was Ms. Velez in the vehicle
as well?

A. Les.

Q. And do you know whether she was looking

at Mr. Kistner?

A. I don't recall.

Q. Did she say anything to you before the
impact?

A. I don't recall.

Q. Did you say anything to her?

A. I don't recall.

Q. And you didn't hear anybody call out

a warning or say anything.
A. No.
Q. Okay. What were you intending to do if
the collision or if the impact had not happened?
MS. HUGGINS: Form.
BY MR. RUPP:

Q. You're in your vehicle now with

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

44;

44;

44;

44

44;

44;

44;

44

44

44:

44;

44;

44;

44

44;

44;

44;

44

45:

45:

45:

45:

45:

29

31

31

234

36

38

39

243

244

45

48

48

49

252

35

ST

58

258

00

02

05

O7

10

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 108 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20

107

Ms. Velez, right?

A. Correct.

Q. Officer Schultz and Moriarity have left
in their patrol vehicle, correct?

A. They had started to drive away.

Q. Right. They were in motion at the time
of the impact, right?

A. I don't know if they were in motion or
if they had stopped down the street.

Q. Okay. Do you know where they were
going?

7 I don't.

Q. Okay. And what were you planning to do
with Ms. Velez in the passenger seat?

A. We were leaving the scene.

Q. Okay. You were planning to leave.

A. Yes.

Q. Okay. And which way were you planning
to leave on Schmarbeck?

A. The direction our vehicle was facing.
I believe north.

Q. So your plan was to pull forward down

Schmarbeck and go where you were going to go next;

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

45:

12

LZ

13

14

l7

18

18

23

28

30

33

30

36

38

38

41

41

44

47

49

49

52

54

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 109 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
108

is that right?

A. Correct.

Q. You weren't going to turn around in
a driveway or turn around, make a three-point turn
in the street or anything.

A. No.

Q. Okay. And when you -- when you saw
Mr. Kistner, did you stop?

When you saw him coming, you said approaching
the side of your vehicle, what did you do?

A. No. I was trying to pull out of where

I was parked.

Q. Okay. Had you started pulling out yet?
A. Yes.
Q. Okay. So you were moving?

MS. HUGGINS: Form.

THE WITNESS: I had backed up, and I had
turned the wheel and started to pull around I think
it was a red minivan that was parked there.

BY MR. RUPP:

Q. When -- when you backed up, where were
you looking?

A. I -- I don't -- I don't recall.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
11:

11:

11:

ll:

ll:

11:

Ly

ll:

LL

ll:

11:

11:

11:

iis

ll:

11:

11:

Lely

ll:

Liles

11:

11:

11:

45:

45:

46:

46:

46:

46:

46:

46:

46;

46:

46:

46:

46:

46:

46:

46:

46:

46:

46:

46:

46:

46:

46:

56

59

02

05

05

07

10

13

13

15

16

17

18

21

22

23

26

27

29

30

30

32

a3

Case 1:18-cv-00402-LJV-JJM Document 74 Filed 05/01/21 Page 110 of 110

10

11

12

13

14

15

16

17

18

19

20

21

22

23

 

McDermott - Rupp - 2/19/20
109

Q. Well, when you were trained to drive
a Tahoe and the training you received on the Crown
Vic at ECC, what were you trained to do when you
backed up a patrol vehicle?

A. Well, I would have -- there's no

rearview mirror camera, so I would have looked

in both mirrors. I would have turned around and
looked.

Q. What about rear view?

A. Rearview mirror?

Q Yes. You had one.

A. I would have looked in it.

Q Okay. So you backed up. How many feet

did you back up?

A. I don't know exactly.

Q. We'll look at the video, but why did
you back up? Why didn't you pull straight forward?

A. Because there was a red minivan parked
there, and I was -- would have been too close to
pull straight forward out.

Q. So you needed to back up and you're
checking mirrors; is that right?

re Yes.

 

JACK W. HUNT & ASSOCIATES, INC.
1120 Liberty Building
Buffalo, New York 14202 - (716) 853-5600

 
